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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                         RICHMOND DIVISION

In re:                                                                ) Chapter 11
                                                                      )
AMF BOWLING WORLDWIDE, INC., et al.,1                                 ) Case No. 12-36495 (KRH)
                                                                      )
                                       Debtors.                       ) Jointly Administered
                                                                      )


                                SCHEDULES OF ASSETS AND LIABILITIES FOR

                                              AMF Bowling Worldwide, Inc.

                                                     CASE NO. 12-36495




1 The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number include: AMF
Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc. (1151); AMF BCH LLC (9642); AMF Beverage
Company of Oregon, Inc. (4960); AMF Bowling Centers Holdings Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling
Mexico Holding, Inc. (7931); AMF Holdings, Inc. (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings Inc.
(1641); Boliches AMF, Inc. (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin Holdings, LLC (5411);
and Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is: 7313 Bell Creek Road, Mechanicsville, Virginia
23111.
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     Debtors in Possession

                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                                )
 In re:                                                         )   Chapter 11
                                                                )
                                                        1
 AMF BOWLING WORLDWIDE, INC., et al.,                           )   Case No. 12-36495 (KRH)
                                                                )
                                     Debtors.                   )   Jointly Administered
                                                                )

            GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
        METHODOLOGY, AND DISCLAIMER REGARDING SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL
 AFFAIRS OF AMF BOWLING WORLDWIDE, INC. AND ITS AFFILIATED DEBTORS

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the
 Statements of Financial Affairs (collectively, the “Statements” and, together with the Schedules,

 1
  The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
 number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc.
 (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc. (4960); AMF Bowling Centers Holdings,
 Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling Mexico Holding, Inc. (7931); AMF Holdings, Inc.
 (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings, Inc. (1641); Boliches AMF, Inc.
 (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin Holdings, LLC (5411); and
 Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is: 7313 Bell Creek Road,
 Mechanicsville, Virginia 23111.



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 the “Schedules and Statements”) filed by AMF Bowling Worldwide, Inc. (“WINC”) and its
 affiliated debtors in these jointly administered chapter 11 cases (collectively, the “Debtors”) in
 the United States Bankruptcy Court for the Eastern District of Virginia (the “Bankruptcy Court”)
 have been prepared pursuant to 11 U.S.C. § 521 and Rule 1007 of the Federal Rules of
 Bankruptcy Procedure by management of the Debtors with the assistance of their court-
 appointed advisors. The Schedules and Statements have been prepared by the Debtors’
 management exercising best efforts to ensure accuracy and completeness by legal entity based on
 information that was available at the time of preparation. The Schedules and Statements are
 unaudited and were prepared with data as near as possible to November 12, 2012 (the “Petition
 Date”). These Global Notes and Statement of Limitations, Methodology, and Disclaimer
 Regarding the Debtors’ Schedules and Statements (the “Global Notes”) are incorporated by
 reference in, and comprise an integral part of, the Schedules and Statements, and should be
 referred to and reviewed in connection with any review of the Schedules and Statements.

        The Schedules and Statements have been signed by Stephen D. Satterwhite in his
 capacity as an officer and/or authorized signatory of each of the Debtors. In reviewing and
 signing the Schedules and Statements, Mr. Satterwhite has necessarily relied upon the efforts,
 statements, and representations of other personnel of the Debtors and the Debtors’ court-
 appointed advisors. Mr. Satterwhite has not (and could not have) personally verified the
 accuracy of each such statement and representation, including statements and representations
 concerning amounts owed to creditors and their addresses.

        I.      Amendment and Reservation of Rights.

                 (1)    While the Debtors’ management has exercised best efforts to ensure that
 the Schedules and Statements are accurate and complete by legal entity based on information that
 was available at the time of preparation, inadvertent errors or omissions may exist. The Debtors
 reserve the right to amend the Schedules and Statements from time to time as may be necessary
 or appropriate.

                (2)        Without limiting anything else expressly reserved herein, the Debtors
 reserve the right to dispute, or to assert offset or defenses to, any claim reflected on the
 Schedules and/or Statements as to amount, liability, and/or classification. The Debtors also
 reserve all rights with respect to the values, amounts, and characterizations of the assets and
 liabilities listed in their Schedules and Statements.

          II.     Basis of Presentation. The Debtors filed these chapter 11 cases on November 12,
 2012. For financial reporting purposes, the Debtors, along with their non-debtor affiliates and
 subsidiaries, prepare consolidated financial statements that are audited annually. Unlike the
 consolidated financial statements, these Schedules and Statements reflect the assets and liabilities
 of each separate Debtor, except where indicated otherwise. In addition, not all of the direct and
 indirect affiliates or subsidiaries are Debtors in these chapter 11 cases. Accordingly, combining
 the assets and liabilities set forth in the Schedules and Statements of the Debtors would result in
 amounts that would be substantially different from financial information regarding WINC and its
 affiliates and subsidiaries that would be prepared on a consolidated basis under Generally
 Accepted Accounting Principles (“GAAP”). Therefore, these Schedules and Statements do not


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 purport to represent financial statements prepared in accordance with GAAP nor are they
 intended to fully reconcile to the financial statements filed by the Debtors.

        III.    General Assumptions. The Debtors adopted the following conventions in the
 preparation of the Schedules and Statements

                (1)      Reporting Date. Unless otherwise indicated, all asset and liability
 information is listed as of the Petition Date.

                (2)    Unaudited. The books and records and the financial statements of the
 Debtors utilized to complete the information contained in the Schedules and Statements are
 unaudited.

                (3)     Book Value.

                         (a)    Assets and liabilities of each Debtor are shown on the basis of the
        net book value of the asset or liability in the Debtor’s accounting books and records,
        unless otherwise noted, rather than the current market values of such interests in property
        and/or liabilities. Certain other assets, such as investments in subsidiaries and
        partnerships, bankruptcy proofs of claim, advances, receivables related to litigation,
        intellectual property, and intangibles, are listed with undetermined amounts.

                        (b)    Amounts shown for total liabilities exclude items identified as
        “unknown” or “undetermined” and, thus, ultimate liabilities may differ materially from
        those stated in the Schedules and Statements.

                        (c)    Book values may not equate to their current market values.

                (4)     Consolidated Cash Management System. The Debtors utilize a
 consolidated cash management system and, as such, the obligations of various Debtors are paid
 by or through a limited number of Debtor bank accounts, notwithstanding that certain of those
 obligations may be obligations of other Debtors. Accordingly, pre-petition liabilities reported in
 the Schedules and pre-petition payments or distributions reported in the Statements have been
 reported based on the Debtor that maintains the bank account from which payments or
 distributions were made. The main disbursement accounts are held in the name of AMF
 Bowling Centers, Inc. and thus, the majority of disbursements are reported on AMF Bowling
 Centers, Inc.’s and AMF Bowling Worldwide, Inc.’s Statements.

                (5)     Currency. All amounts are reflected in U.S. dollars unless otherwise
 specified.

                (6)    Estimates. The books and records of the Debtors as of the Petition Date
 include estimates and assumptions made by management in the ordinary course that may affect
 the reported amounts of assets and liabilities.

                (7)     Causes of Action. Despite their reasonable efforts to identify all known


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 assets, the Debtors may not have set forth all of their causes of action or potential causes of
 action against third parties as assets in their Schedules and Statements. The Debtors reserve all
 of their rights with respect to any claims, causes of action, and avoidance actions they may have
 and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of
 any such claim, causes of action, or avoidance action or in any way prejudice or impair the
 assertion of such claims.

                  (8)     Property and Equipment – Leased. In the ordinary course of their
 business, the Debtors lease property and equipment from certain third-party lessors for use in
 their daily operation and otherwise hold property owned by third-parties pursuant to contracts
 with such parties. Any such leases or contracts are set forth in Schedule G based on the Debtors
 best efforts. The property subject to any of such leases or contracts is not reflected in either
 Schedule A or Schedule B as either owned property or assets of the Debtors nor is such property
 reflected in the Debtors’ Statements as property or assets of third-parties within the control of the
 Debtors. Nothing in the Schedules or Statements is or shall be construed as an admission or
 determination as to the legal status of any lease (including, but not limited to, whether any lease
 is a true lease or a financing arrangement) or contract (including, but not limited to, whether the
 contract is, in fact, an executory contract), and the Debtors reserve all rights with respect to any
 of such issues.

                (9)      Inventory. In the ordinary course of business, the Debtors hold inventory
 owned by certain third-parties (e.g., vendors and customer). Such inventory is excluded from
 assets listed in the Schedules.

                 (10)   Trade Accounts Receivable and Accounts Payable. Trade Accounts
 Receivable are presented as gross balances, but without consideration for any liabilities related to
 mutual counterparty accounts payable, open or terminated contract liabilities, liquidated
 damages, setoff rights, or collateral held by the Debtors, unless otherwise stated. Likewise,
 Accounts Payable are shown without consideration for accounts receivable, open or terminated
 contracts, liquidated damages, setoff rights, or collateral that has been posted on behalf of the
 counterparty.

                (11)    Fully Depreciated Assets. Fully depreciated assets have not been included
 in the Schedules of the Debtors.

                 (12)    Claims Description. Any failure to designate a claim listed on the
 Debtors’ Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an
 admission by the Debtors that such amount is not “disputed,” “contingent,” or “unliquidated.”
 The Debtors reserve the right to dispute, or to assert setoff rights, counterclaims, or defenses with
 respect to, any claim reflected on their Schedules as to amount, liability, or classification, or to
 otherwise subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.”

                (13)     Court Orders. By separate orders entered by the Bankruptcy Court, the
 Debtors were authorized (but not directed) to pay, among other things, certain prepetition
 obligations of (i) customers, (ii) essential vendors, (iii) employees and employee benefits, and
 (iv) certain taxing authorities. Consequently, certain prepetition fixed, liquidated, and
 undisputed priority, secured, and general unsecured claims have been or may be paid under this


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 authority. To the extent possible, amounts are not listed in the Schedules and Statements if they
 have been paid, or have been listed as “contingent” or “unliquidated” based on the Debtors’ best
 efforts to the extent payment is pending.

                 (14)    Intercompany. Before the Petition Date, the Debtors routinely engaged in
 intercompany transactions and/or payments were made to vendors on account of intercompany
 account balances, resulting in intercompany accounts payable and receivable. Outstanding
 receivables among the Debtors are scheduled on Schedule B(35) as net receivables and
 corresponding outstanding payables are listed on Schedule F as net payables. The listing of these
 amounts is and shall not be construed as an admission of the characterization of such balances
 (as debt, equity, or otherwise). Additionally, certain of these intercompany balances may be
 disputed, and any amounts listed shall not be considered an admission as to their validity.

                (15)     Excluded Assets and Liabilities. The Debtors have excluded certain
 categories of assets and liabilities from the Schedules and Statements (e.g., goodwill and general
 accounting reserves or book entries, including favorable leases). As noted above, certain
 liabilities expected to be paid pursuant to Bankruptcy Court orders (e.g., accrued salaries and
 employee benefit accruals) also were excluded from the Schedules and Statements.
 Additionally, other immaterial assets also may have been excluded.

               (16)    Addresses of Current Employees. To protect the privacy of the Debtors’
 current employees, the Debtors have provided their business addresses in the Schedules and
 Statements, unless otherwise noted.

                (17)    Income, Assets, and Liabilities of Concession Companies. In general, the
 Debtors account for income, assets, and liabilities attributable to concession affiliates and
 subsidiaries (including Debtors and non-Debtors) on the books of American Bowling Centers,
 Inc., and accordingly such income, assets, and liabilities appear on the Schedules and Statements
 of American Bowling Centers, Inc.

                (18)     Recharacterization. Notwithstanding the Debtors’ reasonable best efforts
 to properly characterize, classify, categorize, or designate certain claims, assets, executory
 contracts, unexpired leases, and other items reported in the Schedules and Statements, the
 Debtors may nevertheless have improperly characterized, classified, categorized, designated, or
 omitted certain items. Accordingly, the Debtors reserve all of their rights to recharacterize,
 reclassify, recategorize, redesignate, add, or delete items reported in the Schedules and
 Statements at a later time as is necessary and appropriate, as additional information becomes
 available, including whether contracts listed herein were deemed executory as of the Petition
 Date and remain executory postpetition.

                (19)    Liabilities. The Debtors allocated liabilities between the prepetition and
 postpetition periods based on the information and research conducted in connection with the
 preparation of the Schedules and Statements. As additional information becomes available and
 further research is conducted, the allocation of liabilities between the prepetition and postpetition
 periods may change. Accordingly, the Debtors reserve all of their rights to amend, supplement,
 or otherwise modify the Schedules and Statements as is necessary and appropriate.



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         In addition, the liabilities listed on the Schedules do not reflect any analysis of claims
 under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their
 rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
 Bankruptcy Code or the characterization of the structure of any such transaction or any document
 or instrument related to any creditor’s claim.

                (20)      Insiders. For purposes of the Schedules, the Debtors, in consultation with
 their advisors, have engaged in an analysis of their senior management personnel to determine
 which of the Debtors’ employees may be considered an “insider” as defined in section
 101(31)(B) of the Bankruptcy Code. Regardless of an employee’s title, the Debtors and their
 advisors considered (a) whether a particular employee sits on the Debtors’ board of directors; (b)
 whether a particular employee is elected or appointed by the board of directors to manage daily
 operations (e.g., a CEO, president, secretary, or treasurer), or (c) for those employees not serving
 on or elected by the board of directors, whether a particular employee has a controlling interest
 in the Debtors or exercises sufficient authority of the Debtors so as to dictate corporate policy
 and the disposition of corporate assets. Based on this analysis, the Debtors, in consultation with
 their advisors, have determined which individuals would likely be considered “insiders” under
 the Bankruptcy Code, including, without limitation: (a) directors; (b) officers; (c) shareholders
 holding in excess of 5% of the voting shares of one of the Debtor entities (whether directly or
 indirectly); (d) relatives of directors, officers or shareholders of the Debtors (to the extent known
 by the Debtors); and (e) Debtor/non-Debtor affiliates. Persons listed as “insiders” have been
 included for informational purposes only.

         The Debtors do not take any position with respect to: (a) such person’s influence over
 the control of the Debtors; (b) the management responsibilities or functions of such individual;
 (c) the decision-making or corporate authority of such individual; or (d) whether such individual
 could successfully argue that he or she is not an “insider” under applicable law, including the
 federal securities laws, or with respect to any theories of liability or for any other purpose.

                  (21)    Intellectual Property Rights. Exclusion of certain intellectual property
 shall not be construed as an admission that such intellectual property rights have been
 abandoned, terminated, assigned, expired by their terms, or otherwise transferred pursuant to a
 sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall
 not be construed to be an admission that such intellectual property rights have not been
 abandoned, terminated, assigned, expired by their terms, or otherwise transferred pursuant to a
 sale, acquisition, or other transaction. In addition, although the Debtors have made diligent
 efforts to attribute intellectual property to the rightful Debtor entity, in certain instances,
 intellectual property owned by one Debtor may, in fact, be owned by another. Accordingly, the
 Debtors reserve all of their rights with respect to the legal status of any and all such intellectual
 property rights.

                 (22)   Classifications. Listing a claim on (a) Schedule D as “secured,”
 (b) Schedule E as “priority,” (c) Schedule F as “unsecured,” or (d) listing a contract on Schedule
 G as “executory” or “unexpired,” does not constitute an admission by the Debtors of the legal
 rights of the claimant or a waiver of the Debtors’ rights to recharacterize or reclassify such
 claims or contracts or to setoff of such claims.


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               (23)   Liens. Property and equipment listed in the Schedules and Statements are
 presented without consideration of any liens that may attach (or have attached) to such property
 and equipment.

                (24)    Global Notes Control. In the event that the Schedules and Statements
 differ from the foregoing Global Notes, the Global Notes shall control.

        IV.    Specific Schedules of Assets and Liabilities Disclosures.

               (1)     Schedule B(1) and B(2): Cash on Hand; Checking and Savings Accounts.
 All petty cash balances are reported as book balances on Schedule B(1); the remainder of the
 cash balances presented on Schedule B(2) are bank balances as of November 9, 2012. All zero-
 balance bank accounts are reported at zero dollars, regardless of the net book value, as such
 accounts are automatically swept into a master account.

               (2)      Schedule B(13): Interests in Subsidiaries and Affiliates. Equity interests
 in subsidiaries primarily arise from common stock ownership or member or partnership interests.
 Each Debtor’s Schedule lists such Debtor’s ownership interests, if any, in subsidiaries. For
 purposes of these Schedules, the Debtors have listed the value of ownership interests as
 undetermined because the value of such stock or interests is dependent on numerous variables
 and factors and may differ significantly from the net book value.

               (3)      Schedule B(16): Accounts Receivable. Accounts Receivable are reported
 at gross book value as of the Petition Date.

                (4)    Schedule B(18): Liquidated Debts and Tax Refunds. Tax refund amounts
 are based on estimates provided by the Debtors.

               (5)     Schedule B(23): Licenses, Franchises, and Other General Intangibles.
 Schedule B(23) includes only licenses with potential market value and does not include
 business licenses and permits in the numerous jurisdictions in which the Debtors operate.

               (6)     Schedule D: Creditors Holding Secured Claims.

                        (a)     The revolving credit facility balances provided in Schedule D
        include cash collateral supporting approximately $19.4 million in undrawn letters of
        credit as of the Petition Date.

                       (b)    The descriptions provided in Schedule D are intended only to be a
        summary. Reference to the applicable loan agreements and related documents is
        necessary for a complete description of the collateral and the nature, extent, and priority
        of any liens. Nothing in the Global Notes or the Schedules and Statements shall be
        deemed a modification or interpretation of the terms of such agreements.

                       (c)    The pre-petition first-lien and second-lien debt obligations have
        been reported on the Debtor that is party to the respective credit agreements, as well as


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      each Debtor that is a named guarantor under the respective credit agreements.

                     (d)     Holders of secured claims by virtue of holding setoff rights against
      the Debtors or leasing equipment to the Debtors are not included on Schedule D.

                      (e)    Certain of Debtors’ agreements listed on Schedule G may be in the
      nature of conditional sales agreements or secured financing agreements. No attempt has
      been made to identify such agreements for purposes of Schedule D; nevertheless, the
      Debtors reserve their rights to argue than any agreement listed in Schedule G may be
      treated as secured financing agreements rather than executory contracts or unexpired
      leases.

                      (f)    Except as otherwise agreed pursuant to a stipulation or agreed
      order or any other order entered by the Bankruptcy Court, the Debtors reserve their rights
      to dispute or challenge the validity, perfection, or immunity from avoidance of any lien
      purported to be granted or perfected in any specific asset to a secured creditor listed on
      Schedule D of any Debtor. Moreover, although the Debtors have scheduled claims of
      various creditors as secured claims, the Debtors reserve all rights to dispute or challenge
      the secured nature of any such creditor’s claim or the characterization of the structure of
      any such transaction, or any document or instrument related to such creditor’s claim.

             (7)     Schedule E: Creditors Holding Unsecured Priority Claims.

                      (a)     Certain of the claims listed on the Debtors’ Schedule E are claims
      owing to various taxing and other governmental authorities to which the Debtors may
      potentially be liable. However, certain of such claims may be subject to audits and the
      Debtors are otherwise unable to determine with certainty the amount of many, if not all,
      of the claims listed on Schedule E. Therefore, the Debtors have listed such claims as
      unknown in amount, pending final resolution of ongoing audits or other outstanding
      issues. The Debtors reserve their rights to dispute or challenge whether such claims are
      entitled to priority.

                     (b)     As stated above, the Bankruptcy Court has approved payment by
      the Debtors of certain employee- and tax-related claims, and as a result, such claims have
      not been included in the Debtors’ Schedules.

                     (c)     The listing of any claim on Schedule E does not constitute an
      admission by the Debtors that such claim is entitled to priority treatment under 11 U.S.C.
      § 507. The Debtors reserve the right to take the position that any claim listed on
      Schedule E is not entitled to priority.

             (8)     Schedule F: Creditors Holding Unsecured Non-Priority Claims.

                       (a)     Schedule F does not include certain deferred charges, deferred
      liabilities, or general accounting reserves. Such amounts are general estimates of

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      liabilities and do not represent specific claims as of the Petition Date.

                     (b)     Many of the claims listed in Schedule F arose or were incurred on
      various dates. In certain instances, the date on which a claim arose is an open issue of
      fact. Although reasonable efforts have been made to identify the date of incurrence of
      each claim, determination of each date upon which each claim in Schedule F was
      incurred or arose would be unduly burdensome and cost prohibitive and, therefore, the
      Debtors do not list a date for each claim listed on Schedule F.

                       (c)     Schedule F contains information regarding potential, pending, and
      closed litigation involving the Debtors. To the extent litigation involving a particular
      Debtor has been identified, such information is contained in the Schedules for that
      Debtor. The Debtors believe that certain counterparties to litigation may have named the
      incorrect Debtor in the lawsuit. As such, the Debtors have scheduled the litigation on the
      Schedules for the Debtor that was named in or is currently defending the lawsuit.
      Scheduling the litigation against a particular Debtor is not and shall not be construed as
      an admission that the counterparty has a claim against any of the Debtors. The Debtors
      expressly incorporate by reference into Schedule F all parties to pending and potential
      litigation listed in the Debtors’ Statements and Schedules as “contingent,” “unliquidated”
      and “disputed” claims to the extent not already listed on Schedule F.

                      (d)    In certain instances, a Debtor may be a co-obligor or guarantor
      with respect to scheduled claims of other Debtors, and each Debtor’s Schedules expressly
      incorporates such claims by reference to the extent not already separately listed on the
      applicable Debtor’s Schedules. However, no claim set forth on Schedule F of any Debtor
      is intended to acknowledge claims of creditors that are otherwise satisfied or discharged
      by other entities. The Debtors expressly incorporate by reference into Schedule F all
      parties to pending and potential pending litigation listed in the Debtors’ Statements as
      contingent, unliquidated, and disputed claims to the extent not already listed on Schedule
      F. The descriptions provided in Schedule F are intended only to be a summary.

                     (e)     The dollar amounts listed may be exclusive of contingent and
      unliquidated amounts. All parties to executory contracts, including those listed on
      Schedule G, are holders of “contingent” and “unliquidated” unsecured claims arising
      from (i) obligations under those executory contracts, and/or (ii) rejection damages in the
      event that such executory contract is rejected. Not all such claims are duplicated on
      Schedule F.

             (9)     Schedule G: Executory Contracts.

                     (a)     Although reasonable efforts have been made to ensure the
      accuracy of Schedule G, inadvertent errors, omissions or over-inclusion may have
      occurred. The Debtors hereby reserve all of their rights to dispute the validity, status or
      enforceability of any contract or other agreement set forth in Schedule G that may have
      expired or may have been modified, amended and supplemented from time to time by


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      various amendments, restatements, waivers, estoppel certificates, letters and other
      documents, instruments and agreements which may not be listed therein. It is possible
      that some of the contracts or agreements listed on Schedule G have expired or otherwise
      terminated pursuant to their terms since the Petition Date. The presence of a contract or
      agreement on Schedule G does not constitute an admission by the Debtors that such
      contract or agreement is an executory contract or unexpired lease.

                       (b)     Certain of the leases and contracts listed on Schedule G may
      contain certain renewal options, guarantees of payment, options to purchase, rights of
      first refusal, and other miscellaneous rights that are embedded in the Debtors’
      agreements. Such rights, powers, duties, and obligations are generally not set forth on
      Schedule G. Certain of the executory agreements may not have been memorialized and
      could be subject to dispute. To the best of the Debtors’ knowledge, executory
      agreements that are oral in nature have not been scheduled.

                    (c)     Schedule G does not include stand-alone purchase orders for goods
      or equipment agreements. Additionally, the Debtors may be parties to various other
      agreements concerning real property, such as easements, rights of way, subordination,
      non-disturbance, and attornment agreements, supplemental agreements,
      amendments/letter agreements, title documents, consents, site plans, maps, and other
      miscellaneous agreements. Such documents are generally not set forth in Schedule G.

                      (d)      The Debtors reserve all of their rights, claims, and causes of action
      with respect to the contracts and agreements listed on Schedule G, including the right to
      dispute or challenge the characterization or the structure of any transaction, or any
      document or instrument (including, without limitation, any intercompany agreement)
      related to a creditor’s claim.

                     (e)     Omission of a contract or agreement from this Schedule does not
      constitute an admission that such omitted contract or agreement is not an executory
      contract or unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect
      to any such omitted contracts or agreements are not impaired by their omission. This
      Schedule may be amended at any time to add any omitted contract or agreement.

                      (f)     An individual Debtor may have entered into contracts with third
      parties for the benefit of other Debtors. For the purposes of Schedule G, contracts have
      been listed only where that Debtor is an actual party to the contract. The omission of any
      contract from Schedule G to which a Debtor is an intended beneficiary shall not
      constitute a waiver of any rights the Debtor may have in that contract, including the right
      to enforce such contract or the right to recover damages in the event that there is a breach
      of such contract.

                     (g)      Although the Debtors made diligent attempts to attribute an
      executory contract to its rightful Debtor, in certain instances, the Debtors may have
      inadvertently failed to do so. Accordingly, the Debtors reserve all of their rights with

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        respect to the named parties of any and all executory contracts, including the right to
        amend Schedule G.

                (10)   Schedule H: Co-Debtors.

                        (a)    In the ordinary course of business, the Debtors are involved in
        pending or threatened litigation and claims arising out of the conduct of their business.
        These matters may involve multiple plaintiffs and defendants, some or all of whom may
        assert cross-claims and counter-claims against other parties. In addition, the Debtors may
        have causes of action against the parties on Schedule H for contribution, indemnity,
        and/or similar claims and causes of action, and the Debtors reserve all of their rights with
        respect to any such claims and causes of action.

        V.      Specific Statements of Financial Affairs Disclosures.

                (1)    Question 1.

                      (a)   The Debtors have scheduled income attributable to rent and
        management fees paid by concession affiliates and subsidiaries (including Debtors and
        non-Debtors) to American Bowling Centers, Inc. as income to American Bowling
        Centers, Inc.

                (2)    Questions 3(b) and 3(c).

                      (a)     The Debtors have scheduled all known payments to creditors that
        were made during the 90 days prior to the Petition Date. The Statement excludes
        amounts for ordinary course gross wages, employee benefits and other related payments.
        The Statement includes reimbursements to employees for costs incurred on behalf of the
        Debtors.

                       (b)     Payments made by wire and other bank transfers are recorded
        based on transfer date. Payments made by check are recorded based on check issue date
        and as such any checks issued prior to the 90 day period that might have cleared during
        the 90 day period are not reflected.

                       (c)     Both questions 3(c) and 23 request information regarding
        payments to insiders. All payment information has been reported as a response to
        question 3(c). As it relates to officers, the response to question 3(c) only includes
        payments to officers who are designated as executive officers that have a “policy
        making” role at the Debtors. The Debtors have not included in the response to question
        3(c) any non-executive officers.

                (3)     Question 4(a). The Debtors have made reasonable and good faith efforts
 to include a complete list of all legal and administrative proceedings to which they were a party
 within one year prior to the Petition Date. To the extent the Debtors become aware that they
 have inadvertently omitted any such proceedings, they will amend their Statements.

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                (4)       Question 9. The Debtors’ response to question 9 includes payments to the
 Debtors’ advisors engaged for debt counseling and bankruptcy and also includes payments to
 professionals of the Debtors’ lenders. Some of the amounts listed also may include payments
 that are not directly related to debt counseling or bankruptcy.

                 (5)    Question 13. The Debtors and their vendors may set-off mutual
 obligations in the ordinary course of business and pursuant to trade terms agreed upon by the
 parties which include, but are not limited to, vendor rebate deductions, customer rebates, and
 credit memos. The Debtors have not included any set-off made by their creditors that was made
 in the ordinary course of business and pursuant to the trade terms between the Debtors and such
 creditor.

               (6)     Question 14. The Debtors hold cash in escrow on behalf of certain
 bowling leagues. These escrow accounts and their bank cash balances as of November 9, 2012
 have been included in the Debtors’ response to Question 14.

                (7)   Question 15. Prior addresses have been listed to the extent the location is
 no longer occupied by any of the Debtors.

                 (8)    Question 19(d). The Debtors in the ordinary course of business provide
 financial statements to various parties including, but not limited to, lenders, vendors, trade
 partners and customers; however, a detailed list of recipients is not generally maintained by the
 Debtors. Therefore, the names of those parties who have received financial statements in the last
 two years are not listed.

                (9)    Questions 21(a), 21(b), 22(a) and 22(b). The response includes only those
 officers who are designated as executive officers that have a “policy making” role at the Debtors.
 The Debtors have not included in the response to questions 21(a), 21(b), 22(a) and 22(b) any
 non-executive officers.



                              * * * END OF GLOBAL NOTES * * *




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B6 Summary (Official Form 6 - Summary) (12/07)
UNITED STATES BANKRUPTCY COURT
Eastern District of Virginia, Richmond

In re: AMF Bowling Worldwide, Inc.                                                                                  Case No. 12-36495 (KRH)
                                                                                                                                         Chapter 11
                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D,
E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the
amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the
“Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




                     Name of Schedule                            Attached No. of                Assets                Liabilities           Other
                                                                 (YES/NO) Sheets
A - Real Property                                                   YES           1               $508,114.59

B - Personal Property                                               YES          23            $29,585,582.54

C - Property Claimed as Exempt                                       NO         N/A
D - Creditors Holding Secured Claims                                YES           2                                   $316,854,532.95

E - Creditors Holding Unsecured Priority Claims                     YES           4                                          $1,800.00
     (Total of Claims on Schedule E)
F - Creditors Holding Unsecured Nonpriority Claims                  YES           7                                     $8,610,156.64

G - Executory Contracts and Unexpired Leases                        YES           4
H - Codebtors                                                       YES          24

I - Current Income of Individual Debtor(s)                           NO         N/A

J - Current Expenditures of Individual Debtor(s)                     NO         N/A

                                                             TOTAL               65            $30,093,697.13         $325,466,489.59
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B6A (Official Form 6A) (12/07)

In re: AMF Bowling Worldwide, Inc.                                                                                         Case No. 12-36495 (KRH)


                                               SCHEDULE A - REAL PROPERTY
     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned
as a co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor's own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the
property by placing an "H," "W," "J," or "C" in the column labeled "HWJC." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

    Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
entity claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

    If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C -
Property Claimed as Exempt.




                                                                                                                CURRENT VALUE OF        AMOUNT OF SECURED
                  DESCRIPTION AND LOCATION OF PROPERTY               NATURE OF DEBTOR'S INTEREST IN      H     DEBTOR'S INTEREST IN     CLAIM OR MORTGAGE
                                                                               PROPERTY                  W      PROPERTY, WITHOUT
                                                                                                         J    DEDUCTING ANY SECURED
                                                                                                         C      CLAIM OR EXEMPTION




   New building improvements                                                      Owned                             $508,114.59             $508,114.59
   7313 Bell Creek Road
   Mechanicsville, VA 23111




                                                                                                      Total            $508,114.59
                                                                                     (Report total also on Summary of Schedules.)




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B6B (Official Form 6B) (12/0

In re: AMF Bowling Worldwide, Inc.                                                                                                Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more
of the categories, place an "X" in the appropriate position in the column labeled "None". If additional space is needed in any category,
attach a separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state
whether the husband, wife, both, or the marital community own the property by placing an "H," "W," "J," or "C" in the column labeled "HWJC."
If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as
Exempt.


           Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and
Location of Property." If the property is being held for a minor child, simply state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R.
Bankr. P. 1007 (m).




                                                                                                                                      CURRENT VALUE OF
                           TYPE OF PROPERTY                         NONE        DESCRIPTION AND LOCATION OF PROPERTY          H      DEBTOR'S INTEREST IN
                                                                                                                              W       PROPERTY, WITHOUT
                                                                                                                              J     DEDUCTING ANY SECURED
                                                                                                                              C       CLAIM OR EXEMPTION




    1. Cash on hand.                                                 X                                                                               $0.00




    2. Checking, savings or other financial accounts,                      See Schedule B2 Attachment                                         $4,905,594.26
    certificates of deposit or shares in banks, savings and loan,
    thrift, building and loan, and homestead associations, or
    credit unions, brokerage houses, or cooperatives.




                                                                                                    Subtotal (Total on this page)           $4,905,594.26




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In re: AMF Bowling Worldwide, Inc.                                                                                               Case No. 12-36495 (KRH)

                                                SCHEDULE B - PERSONAL PROPERTY
                                                                       (Continuation Sheet)


                                                                                                                                     CURRENT VALUE OF
                            TYPE OF PROPERTY                      NONE        DESCRIPTION AND LOCATION OF PROPERTY           H      DEBTOR'S INTEREST IN
                                                                                                                             W       PROPERTY, WITHOUT
                                                                                                                             J     DEDUCTING ANY SECURED
                                                                                                                             C       CLAIM OR EXEMPTION




    3. Security deposits with public utilities, telephone                XL Specialty Insurance Company                                      $5,000,000.00
    companies, landlords, and others.                                    505 Eagleview Blvd Ste 100, PO Box 636, Exton, PA
                                                                         19341
                                                                         Service Provided: LC Draw




    4. Household goods and furnishings, including audio, video,    X                                                                                $0.00
    and computer equipment.




    5. Books; pictures and other art objects; antiques; stamp,     X                                                                                $0.00
    coin, record, tape, compact disc, and other collections or
    collectibles.




                                                                                                   Subtotal (Total on this page)           $5,000,000.00




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In re: AMF Bowling Worldwide, Inc.                                                                                      Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                                 (Continuation Sheet)


                                                                                                                            CURRENT VALUE OF
                            TYPE OF PROPERTY                NONE        DESCRIPTION AND LOCATION OF PROPERTY        H      DEBTOR'S INTEREST IN
                                                                                                                    W       PROPERTY, WITHOUT
                                                                                                                    J     DEDUCTING ANY SECURED
                                                                                                                    C       CLAIM OR EXEMPTION




    6. Wearing apparel.                                      X                                                                             $0.00




    7. Furs and jewelry.                                     X                                                                             $0.00




    8. Firearms and sports, photographic, and other hobby    X                                                                             $0.00
    equipment.




                                                                                          Subtotal (Total on this page)                   $0.00




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In re: AMF Bowling Worldwide, Inc.                                                                                                  Case No. 12-36495 (KRH)

                                                SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)


                                                                                                                                        CURRENT VALUE OF
                            TYPE OF PROPERTY                          NONE        DESCRIPTION AND LOCATION OF PROPERTY          H      DEBTOR'S INTEREST IN
                                                                                                                                W       PROPERTY, WITHOUT
                                                                                                                                J     DEDUCTING ANY SECURED
                                                                                                                                C       CLAIM OR EXEMPTION




    9. Interests in insurance policies. Name insurance                       See Schedule B9 Attachment                                          Undetermined
    company of each policy and itemize surrender or refund
    value of each.




    10. Annuities. Itemize and name each issuer.                       X                                                                                $0.00




    11. Interests in an education IRA as defined in 26 U.S.C. §        X                                                                                $0.00
    530(b)(1) or under a qualified State tuition plan as defined in
    26 U.S.C. § 529(b)(1). Give particulars. (File separately the
    record(s) of any such interest(s). 11 U.S.C. § 521(c).)




                                                                                                      Subtotal (Total on this page)                   $0.00




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In re: AMF Bowling Worldwide, Inc.                                                                                             Case No. 12-36495 (KRH)

                                                SCHEDULE B - PERSONAL PROPERTY
                                                                      (Continuation Sheet)


                                                                                                                                   CURRENT VALUE OF
                            TYPE OF PROPERTY                     NONE        DESCRIPTION AND LOCATION OF PROPERTY          H      DEBTOR'S INTEREST IN
                                                                                                                           W       PROPERTY, WITHOUT
                                                                                                                           J     DEDUCTING ANY SECURED
                                                                                                                           C       CLAIM OR EXEMPTION




    12. Interests in IRA, ERISA, Keogh, or other pension or       X                                                                               $0.00
    profit sharing plans. Give particulars.




    13. Stock and interests in incorporated and unincorporated          See Schedule B13 Attachment                                            Unknown
    businesses. Itemize.




    14. Interests in partnerships or joint ventures. Itemize.     X                                                                               $0.00




                                                                                                 Subtotal (Total on this page)                   $0.00




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In re: AMF Bowling Worldwide, Inc.                                                                                              Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                                       (Continuation Sheet)


                                                                                                                                    CURRENT VALUE OF
                            TYPE OF PROPERTY                      NONE        DESCRIPTION AND LOCATION OF PROPERTY          H      DEBTOR'S INTEREST IN
                                                                                                                            W       PROPERTY, WITHOUT
                                                                                                                            J     DEDUCTING ANY SECURED
                                                                                                                            C       CLAIM OR EXEMPTION




    15. Government and corporate bonds and other negotiable        X                                                                               $0.00
    and nonnegotiable instruments.




    16. Accounts Receivable.                                             See Schedule B16 Attachment                                       $17,142,310.29




    17. Alimony, maintenance, support, and property                X                                                                               $0.00
    settlements to which the debtor is or may be entitled. Give
    particulars.




                                                                                                  Subtotal (Total on this page)         $17,142,310.29




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In re: AMF Bowling Worldwide, Inc.                                                                                               Case No. 12-36495 (KRH)

                                                 SCHEDULE B - PERSONAL PROPERTY
                                                                          (Continuation Sheet)


                                                                                                                                     CURRENT VALUE OF
                            TYPE OF PROPERTY                         NONE        DESCRIPTION AND LOCATION OF PROPERTY        H      DEBTOR'S INTEREST IN
                                                                                                                             W       PROPERTY, WITHOUT
                                                                                                                             J     DEDUCTING ANY SECURED
                                                                                                                             C       CLAIM OR EXEMPTION




    18. Other liquidated debts owed to debtor including tax           X                                                                             $0.00
    refunds. Give particulars.




    19. Equitable or future interests, life estates, and rights or    X                                                                             $0.00
    powers exercisable for the benefit of the debtor other than
    those listed in Schedule A – Real Property.




    20. Contingent and noncontingent interests in estate of a         X                                                                             $0.00
    decedent, death benefit plan, life insurance policy, or trust.




                                                                                                   Subtotal (Total on this page)                   $0.00




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In re: AMF Bowling Worldwide, Inc.                                                                                                 Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                                          (Continuation Sheet)


                                                                                                                                       CURRENT VALUE OF
                            TYPE OF PROPERTY                         NONE        DESCRIPTION AND LOCATION OF PROPERTY          H      DEBTOR'S INTEREST IN
                                                                                                                               W       PROPERTY, WITHOUT
                                                                                                                               J     DEDUCTING ANY SECURED
                                                                                                                               C       CLAIM OR EXEMPTION




    21. Other contingent and unliquidated claims of every                   SEE SCHEDULE H AND GLOBAL NOTES.                                          $0.00
    nature, including tax refunds, counterclaims of the debtor,
    and rights to setoff claims. Give estimated value of each.




    22. Patents, copyrights, and other intellectual property. Give          See Schedule B22 Attachment                                            Unknown
    particulars.




    23. Licenses, franchises, and other general intangibles.          X                                                                               $0.00
    Give particulars.




                                                                                                     Subtotal (Total on this page)                   $0.00




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In re: AMF Bowling Worldwide, Inc.                                                                                               Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                                          (Continuation Sheet)


                                                                                                                                     CURRENT VALUE OF
                            TYPE OF PROPERTY                         NONE        DESCRIPTION AND LOCATION OF PROPERTY        H      DEBTOR'S INTEREST IN
                                                                                                                             W       PROPERTY, WITHOUT
                                                                                                                             J     DEDUCTING ANY SECURED
                                                                                                                             C       CLAIM OR EXEMPTION




    24. Customer lists or other compilations containing               X                                                                             $0.00
    personally identifiable information (as defined in 11 U.S.C. §
    101(41A)) provided to the debtor by individuals in
    connection with obtaining a product or service from the
    debtor primarily for personal, family, or household purposes.




    25. Automobiles, trucks, trailers, and other vehicles and         X                                                                             $0.00
    accessories.




    26. Boats, motors, and accessories.                               X                                                                             $0.00




                                                                                                   Subtotal (Total on this page)                   $0.00




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In re: AMF Bowling Worldwide, Inc.                                                                                            Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                                    (Continuation Sheet)


                                                                                                                                  CURRENT VALUE OF
                            TYPE OF PROPERTY                   NONE        DESCRIPTION AND LOCATION OF PROPERTY           H      DEBTOR'S INTEREST IN
                                                                                                                          W       PROPERTY, WITHOUT
                                                                                                                          J     DEDUCTING ANY SECURED
                                                                                                                          C       CLAIM OR EXEMPTION




    27. Aircraft and accessories.                               X                                                                                $0.00




    28. Office equipment, furnishings, and supplies.                  Non-computer office equipment                                           $7,053.31
                                                                      Support Center
                                                                      Cost Basis: $596,096.16




    29. Machinery, fixtures, equipment, and supplies used in    X                                                                                $0.00
    business.




                                                                                                Subtotal (Total on this page)               $7,053.31




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In re: AMF Bowling Worldwide, Inc.                                                                                    Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                               (Continuation Sheet)


                                                                                                                          CURRENT VALUE OF
                            TYPE OF PROPERTY              NONE        DESCRIPTION AND LOCATION OF PROPERTY        H      DEBTOR'S INTEREST IN
                                                                                                                  W       PROPERTY, WITHOUT
                                                                                                                  J     DEDUCTING ANY SECURED
                                                                                                                  C       CLAIM OR EXEMPTION




    30. Inventory.                                         X                                                                             $0.00




    31. Animals.                                           X                                                                             $0.00




    32. Crops - growing or harvested. Give particulars.    X                                                                             $0.00




                                                                                        Subtotal (Total on this page)                   $0.00




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In re: AMF Bowling Worldwide, Inc.                                                                                              Case No. 12-36495 (KRH)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                                       (Continuation Sheet)


                                                                                                                                    CURRENT VALUE OF
                            TYPE OF PROPERTY                      NONE        DESCRIPTION AND LOCATION OF PROPERTY          H      DEBTOR'S INTEREST IN
                                                                                                                            W       PROPERTY, WITHOUT
                                                                                                                            J     DEDUCTING ANY SECURED
                                                                                                                            C       CLAIM OR EXEMPTION




    33. Farming equipment and implements.                          X                                                                               $0.00




    34. Farm supplies, chemicals, and feed.                        X                                                                               $0.00




    35. Other personal property of any kind not already listed.          See Schedule B35 Attachment                                        $2,530,624.68
    Itemize.




                                                                                                  Subtotal (Total on this page)           $2,530,624.68




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In re: AMF Bowling Worldwide, Inc.                                                                        Case No. 12-36495 (KRH)

                                         SCHEDULE B - PERSONAL PROPERTY
                                                      (Continuation Sheet)
                                                                               Subtotal (Total on this page)              $0.00
                                                                                                        Total    $29,585,582.54
                                                                     (Include amounts from any continuation
                                                                        sheets attached. Report total also on
                                                                                     Summary of Schedules.)




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                                                                 In re: AMF Bowling Worldwide, Inc.
                                                                          Case No. 12-36495
                                                                              Schedule B2
                                                      Personal Property - Checking, saving or other financial accounts

     Bank/Institution             Address          City      State      Zip        Account Number                              Description                      Balance
Bank First                                                                                           Benefits Acct account for WINC
Bank of America         101 S Tryon Street     Charlotte    NC       28255-0001       xxxxxx5633     Analyzed Checking                                         $2,437,772.37
Bank of America         101 S Tryon Street     Charlotte    NC       28255-0001       xxxxxx8036     Controlled Disbursement Checking-PR                          $17,044.87
Bank of America         101 S Tryon Street     Charlotte    NC       28255-0001       xxxxxx1762     Investment account for AMF Bowling Worldwide                 $23,934.60
Bank of America         101 S Tryon Street     Charlotte    NC       28255-0001       xxxxxx7112     WINC Corp- DIP account for BOA WINC Concentration 2               $0.00
The Bancorp Bank                                                                      xxxxxx1569     Flexible Spending                                            $16,315.47
Wells Fargo Bank        7 N. 8th St. 3rd Fl.   Richmond     VA       23219            xxxxxx3337     Concentration.                                            $2,410,526.95
                                                                                                                                                       TOTAL   $4,905,594.26




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                                        Case No. 12-36495
                                               Schedule B9
                            Personal Property - Interests in insurance policies
   Type of Coverage                Carrier                      Policy Number              Value
  Casualty            Colony Specialty                 AR4460165                         Undetermined
  Casualty            Colony Specialty Ins Co          AR4460165                         Undetermined
  Casualty            Essex                            MEAH 7001 06 12                   Undetermined
  Casualty            Fireman's Fund                   SHX00024235376                    Undetermined
  Casualty            Great American                   TUE4784942-07                     Undetermined
  Casualty            monopolistic State program       1352647                           Undetermined
  Casualty            monopolistic State program       UBI 601 058 600                   Undetermined
  Casualty            monopolistic State program       8312001720-2013                   Undetermined
  Casualty            Scottsdale Ins. Co               CPS1269629 - CANCELLED            Undetermined
  Casualty            Scottsdale Ins. Co               CPS1030946-2                      Undetermined
  Casualty            Travelers Indemnity Co           HRC-UB-470M4178-12                Undetermined
  Casualty            Travelers Indemnity Co of CT HE-EXGL-470M418A-12                   Undetermined
  Casualty            Travelers Indemnity Co of CT HC2E-GLSA-470M4191-12                 Undetermined
  Casualty            Travelers Indemnity Co of CT BA-2A704909-12-CAG                    Undetermined
  Casualty            Travelers Prop & Casualty        HC2J-UB-470M4166-12               Undetermined
  Casualty            Zurich                           AUC 5234378-11                    Undetermined
  Executive Liability ACE                              G24274192 004                     Undetermined
  Executive Liability Axis Reinsurance Co              RAN730369012012                   Undetermined
  Executive Liability Chubb                            8221-5307                         Undetermined
  Executive Liability Great American                   OS52331                           Undetermined
  Executive Liability Illinois Union Fire Ins.         G23660349004                      Undetermined
  Executive Liability Liberty Ins U/W                  DOAT465261007                     Undetermined
  Executive Liability National Union Fire              02-766-58-30                      Undetermined
  Executive Liability National Union Fire              02-173-05-06                      Undetermined
  Executive Liability RSUI Indemnity Co                HS647227                          Undetermined
  International       Chartis                          WR 10005629                       Undetermined
  International       Chartis                          WR 10005629                       Undetermined
  International       Zurich (Willis Mexico)           00000661859                       Undetermined
  Property            Allied World Assurance Co        0307-5113-1A                      Undetermined
  Property            AXIS Rsurplus lines              MNG759778-12                      Undetermined
  Property            Lexington Ins.                   84144099                          Undetermined
  Property            Lloyds of London                 B080112929U12                     Undetermined
  Property            QBE Insurance Corp               ESE11053-00                       Undetermined
  Property            West Port Ins (Swiss Re)         31-3-74742                        Undetermined
                                                                                TOTAL   Undetermined

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                                             In re: AMF Bowling Worldwide, Inc.
                                                      Case No. 12-36495
                                                           Schedule B13
                       Personal Property - Stock and interests in incorporated and unincorporated businesses
                                                                                                                          Net Book
                                                                                                          Ownership %      Value of
               Business Name                          Address 1              City         State    Zip    or # of shares investment
AMF BCH LLC                                     7313 Bell Creek Road     Mechanicsville   VA      23111        100%        Unknown
AMF Bowling Centers Holdings Inc                7313 Bell Creek Road     Mechanicsville   VA      23111        100%        Unknown
AMF Holdings Inc                                7313 Bell Creek Road     Mechanicsville   VA      23111        100%        Unknown
AMF Worldwide Bowling Centers Holdings Inc      7313 Bell Creek Road     Mechanicsville   VA      23111        100%        Unknown
                                                                                                                  TOTAL Unknown




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                                                               In re: AMF Bowling Worldwide, Inc.
                                                                        Case No. 12-36495
                                                                            Schedule B16
                                                                Personal Property - Accounts receivable

                 Company                      Address 1            City       State Zip                    Type of receivable                Receivable balance
AMF Bowl Prod Ltd                         7313 Bell Creek Rd   Mechanicsville VA    23111 Intercompany A/R from AMF Bowl Prod Ltd                     $27,447.93
AMF WBCH LLC                              7313 Bell Creek Rd   Mechanicsville VA    23111 Intercompany A/R from AMF WBCH LLC                        $863,015.00
Boliches AMF y Compania                   7313 Bell Creek Rd   Mechanicsville VA    23111 Intercompany A/R from Boliches AMF y Compania              $989,503.57
                                                                                          Intercompany A/R from Societe Anonyme Bowling du
Societe Anonyme Bowling du Montparnasse   7313 Bell Creek Rd   Mechanicsville VA    23111 Montparnasse                                             $1,954,000.00
WBCH LLC                                  7313 Bell Creek Rd   Mechanicsville VA    23111 Intercompany A/R from WBCH LLC                           $2,580,000.00
Worldwide Bowling Centers Holdings Inc    7313 Bell Creek Rd   Mechanicsville VA    23111 Intercompany A/R from WBCH Inc                         $10,728,343.79
                                                                                                                                       TOTAL      $17,142,310.29




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                                              In re: AMF Bowling Worldwide, Inc.
                                                       Case No. 12-36495
                                                           Schedule B22
                                Personal Property - Patents, copyrights, and other intellectual property

                                      Patent/Trademark name                                                Expiration Date Net Book Value
AMF ACCUSYSTEM trademark no. 834813 in China                                                                     N/A          Unknown
AMF ADVANTAGE trademark no. 411031 in South Korea                                                                N/A          Unknown
AMF ADVANTAGE trademark no. 844706 in India                                                                      N/A          Unknown
AMF ADVANTAGE trademark no. T97/033631 in Singapore                                                              N/A          Unknown
AMF and Katakana trademark no. 5129855 in Japan                                                                  N/A          Unknown
AMF and Katakana trademark no. 5230580 in Japan                                                                  N/A          Unknown
AMF and Two Triangledesign trademark no. 226078 in Federation of Russia                                          N/A          Unknown
AMF and Circle design trademark no. 135883 in Australia                                                          N/A          Unknown
AMF and Circle design trademark no. 20494 in Israel                                                              N/A          Unknown
AMF and Circle design trademark no. 20495 in Israel                                                              N/A          Unknown
AMF and Circle design trademark no. 20496 in Israel                                                              N/A          Unknown
AMF and Circle design trademark no. 30691 in Pakistan                                                            N/A          Unknown
AMF and Circle design trademark no. 45872F in Venezuela                                                          N/A          Unknown
AMF and Circle design trademark no. 86723F in Venezuela                                                          N/A          Unknown
AMF and design trademark no. 8638 in Benelux                                                                     N/A          Unknown
AMF and Triangle design AMF CLASSIC trademark no. 2284941 in Argentina                                           N/A          Unknown
AMF and Triangle design trademark no. 07004/1997 in Hong Kong                                                    N/A          Unknown
AMF and Triangle design trademark no. 126058 in South Korea                                                      N/A          Unknown
AMF and Triangle design trademark no. 127682 in South Korea                                                      N/A          Unknown
AMF and Triangle design trademark no. 128138 in South Korea                                                      N/A          Unknown
AMF and Triangle design trademark no. 143923 in Ireland                                                          N/A          Unknown
AMF and Triangle design trademark no. 151694 in Taiwan                                                           N/A          Unknown
AMF and Triangle design trademark no. 152240 in Taiwan                                                           N/A          Unknown
AMF and Triangle design trademark no. 185452 in Federation of Russia                                             N/A          Unknown
AMF and Triangle design trademark no. 1892902 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 196915 in Slovak Republic                                                  N/A          Unknown
AMF and Triangle design trademark no. 1972105 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 200205081AA in Hong Kong                                                   N/A          Unknown
AMF and Triangle design trademark no. 2013389 in United States                                                   N/A          Unknown
AMF and Triangle design trademark no. 2048550 in United Kingdom                                                  N/A          Unknown
AMF and Triangle design trademark no. 221889 in South Korea                                                      N/A          Unknown
AMF and Triangle design trademark no. 2223522 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 2223523 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 2223524 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 224091 in South Korea                                                      N/A          Unknown
AMF and Triangle design trademark no. 224130 in Mexico                                                           N/A          Unknown
AMF and Triangle design trademark no. 2259971 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 2270649 in United Kingdom                                                  N/A          Unknown
AMF and Triangle design trademark no. 2302047 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 234899 in New Zealand                                                      N/A          Unknown
AMF and Triangle design trademark no. 243430 in Australia                                                        N/A          Unknown
AMF and Triangle design trademark no. 243431 in Australia                                                        N/A          Unknown
AMF and Triangle design trademark no. 249685 in Australia                                                        N/A          Unknown
AMF and Triangle design trademark no. 2670020 in Japan                                                           N/A          Unknown
AMF and Triangle design trademark no. 26-82 in Ecuador                                                           N/A          Unknown
AMF and Triangle design trademark no. 271479 in Portugal                                                         N/A          Unknown
AMF and Triangle design trademark no. 27-82 in Ecuador                                                           N/A          Unknown
AMF and Triangle design trademark no. 279720 in Switzerland                                                      N/A          Unknown
AMF and Triangle design trademark no. 2838415 in Argentina                                                       N/A          Unknown
AMF and Triangle design trademark no. 30130438 in Germany                                                        N/A          Unknown
AMF and Triangle design trademark no. 3041394 in United States                                                   N/A          Unknown
AMF and Triangle design trademark no. 311748 in India                                                            N/A          Unknown
AMF and Triangle design trademark no. 311749 in India                                                            N/A          Unknown
AMF and Triangle design trademark no. 311751 in India                                                            N/A          Unknown
AMF and Triangle design trademark no. 320217 in Benelux                                                          N/A          Unknown
AMF and Triangle design trademark no. 330004 in South Korea                                                      N/A          Unknown
AMF and Triangle design trademark no. 34805 in Dominican Republic                                                N/A          Unknown
AMF and Triangle design trademark no. 3907307 in United States                                                   N/A          Unknown
AMF and Triangle design trademark no. XX-XXXXXXX in South Korea                                                  N/A          Unknown
AMF and Triangle design trademark no. 42252 in Vietnam                                                           N/A          Unknown


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                                                        Case No. 12-36495
                                                            Schedule B22
                                 Personal Property - Patents, copyrights, and other intellectual property

                                       Patent/Trademark name                                                Expiration Date Net Book Value
AMF and Triangle design trademark no. 61519 in New Zealand                                                        N/A          Unknown
AMF and Triangle design trademark no. 668354 in Italy                                                             N/A          Unknown
AMF and Triangle design trademark no. 668510 in Chile                                                             N/A          Unknown
AMF and Triangle design trademark no. 69557 in Austria                                                            N/A          Unknown
AMF and Triangle design trademark no. 718242(2) in Spain                                                          N/A          Unknown
AMF and Triangle design trademark no. 718243(0) in Spain                                                          N/A          Unknown
AMF and Triangle design trademark no. 718246(5) in Spain                                                          N/A          Unknown
AMF and Triangle design trademark no. 739726 in Mexico                                                            N/A          Unknown
AMF and Triangle design trademark no. 74/6230 in South Africa                                                     N/A          Unknown
AMF and Triangle design trademark no. 74/6231 in South Africa                                                     N/A          Unknown
AMF and Triangle design trademark no. 74/6234 in South Africa                                                     N/A          Unknown
AMF and Triangle design trademark no. 752235 in Mexico                                                            N/A          Unknown
AMF and Triangle design trademark no. 753716 in Mexico                                                            N/A          Unknown
AMF and Triangle design trademark no. 756880 in Mexico                                                            N/A          Unknown
AMF and Triangle design trademark no. 784321 in New Zealand                                                       N/A          Unknown
AMF and Triangle design trademark no. 801930 in Mexico                                                            N/A          Unknown
AMF and Triangle design trademark no. 819998559 in Brazil                                                         N/A          Unknown
AMF and Triangle design trademark no. 821553 in Argentina                                                         N/A          Unknown
AMF and Triangle design trademark no. 823923770 in Brazil                                                         N/A          Unknown
AMF and Triangle design trademark no. 823923789 in Brazil                                                         N/A          Unknown
AMF and Triangle design trademark no. 823923797 in Brazil                                                         N/A          Unknown
AMF and Triangle design trademark no. 823923800 in Brazil                                                         N/A          Unknown
AMF and Triangle design trademark no. 823923819 in Brazil                                                         N/A          Unknown
AMF and Triangle design trademark no. 823923827 in Brazil                                                         N/A          Unknown
AMF and Triangle design trademark no. 870470 in Mexico                                                            N/A          Unknown
AMF and Triangle design trademark no. 875604 in Australia                                                         N/A          Unknown
AMF and Triangle design trademark no. 924106 in Germany                                                           N/A          Unknown
AMF and Triangle design trademark no. 92561 in South Korea                                                        N/A          Unknown
AMF and Triangle design trademark no. 94941 in Norway                                                             N/A          Unknown
AMF and Triangle design trademark no. 95460 in South Korea                                                        N/A          Unknown
AMF and Triangle design trademark no. 98748100 in France                                                          N/A          Unknown
AMF and Triangle design trademark no. B143921 in Ireland                                                          N/A          Unknown
AMF and Triangle design trademark no. B143922 in Ireland                                                          N/A          Unknown
AMF and Triangle design trademark no. MB65052 in Malaysia                                                         N/A          Unknown
AMF and Triangle design trademark no. T91/03144H in Singapore                                                     N/A          Unknown
AMF and Triangle design trademark no. TMA593908 in Canada                                                         N/A          Unknown
AMF and Triangle design(Colored) trademark no. 1296240 in Japan                                                   N/A          Unknown
AMF and Triangle design(Colored) trademark no. 3073564 in Japan                                                   N/A          Unknown
AMF and Triangle design(Colored) trademark no. 3140654 in Japan                                                   N/A          Unknown
AMF and Triangle design(Colored) trademark no. 4579530 in Japan                                                   N/A          Unknown
AMF and Triangle design(Colored) trademark no. 5230579 in Japan                                                   N/A          Unknown
AMF and Triangle design(Series) trademark no. 2003/10654 in Hong Kong                                             N/A          Unknown
AMF and Two Triangledesign trademark no. 226076 in Federation of Russia                                           N/A          Unknown
AMF CLASSIC with Pinsplash Design trademark no. 1907327 in Argentina                                              N/A          Unknown
AMF CLASSIC with Pinsplash Design trademark no. 1907328 in Argentina                                              N/A          Unknown
AMF GENUINE PARTS Logo                                                                                            N/A          Unknown
AMF Guide to natural bowling. By Victor Kalman & Manny Haller                                                     N/A          Unknown
AMF KIDS FEST Logo                                                                                                N/A          Unknown
AMF PINSPOTTER trademark no. 02/3145415 in France                                                                 N/A          Unknown
AMF PINSPOTTER trademark no. 1079023 in India                                                                     N/A          Unknown
AMF PINSPOTTER trademark no. 1079024 in India                                                                     N/A          Unknown
AMF PINSPOTTER trademark no. 2292038 in United Kingdom                                                            N/A          Unknown
AMF PINSPOTTER trademark no. 262465 in Federation ofRussia                                                        N/A          Unknown
AMF PINSPOTTER trademark no. 2879988 in United States                                                             N/A          Unknown
AMF PINSPOTTER trademark no. 354551 in Sweden                                                                     N/A          Unknown
AMF PINSPOTTER trademark no. 4724577 in Japan                                                                     N/A          Unknown
AMF playbook: business strategies that work! Copyright                                                            N/A          Unknown
AMF PLAYMASTER anddesign trademark no. TMA467917 in Canada                                                        N/A          Unknown
AMF THUNDERBOWL trademark no. TMA655294 in Canada                                                                 N/A          Unknown
AMF trademark no. 0,785,142 in United States                                                                      N/A          Unknown


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                                                     Case No. 12-36495
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                              Personal Property - Patents, copyrights, and other intellectual property

                                     Patent/Trademark name                                               Expiration Date Net Book Value
AMF trademark no. 130729 in Sweden                                                                             N/A          Unknown
AMF trademark no. 1320170 in Japan                                                                             N/A          Unknown
AMF trademark no. 141619 in Sweden                                                                             N/A          Unknown
AMF trademark no. 163505 in Mexico                                                                             N/A          Unknown
AMF trademark no. 163506 in Mexico                                                                             N/A          Unknown
AMF trademark no. 240363 in Federation of Russia                                                               N/A          Unknown
AMF trademark no. 2516299 in Japan                                                                             N/A          Unknown
AMF trademark no. 2670427 in Japan                                                                             N/A          Unknown
AMF trademark no. 373597 in Switzerland                                                                        N/A          Unknown
AMF trademark no. 564177 in Japan                                                                              N/A          Unknown
AMF trademark no. 630572 in Chile                                                                              N/A          Unknown
AMF trademark no. 714104 in United States                                                                      N/A          Unknown
AMF trademark no. 912787 in United States                                                                      N/A          Unknown
AMF trademark no. 913754 in United States                                                                      N/A          Unknown
AMF trademark no. 942646 in United States                                                                      N/A          Unknown
AMF trademark no. 987612 in United Kingdom                                                                     N/A          Unknown
AMF trademark no. 99480 in Norway                                                                              N/A          Unknown
AMF trademark no. T91/03309B in Singapore                                                                      N/A          Unknown
AMF trademark no. TMA193805 in Canada                                                                          N/A          Unknown
AMF&Triangle DesigninRed trademark no. 5129854 in Japan                                                        N/A          Unknown
AMF(Chinese Characters) trademark no. 1465148 in China                                                         N/A          Unknown
AMF(stylized) trademark no. T83/01107G in Singapore                                                            N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 1299803 in Italy                                                              N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 2286177 in United States                                                      N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 2374682 in United Kingdom                                                     N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 2848177 in Spain                                                              N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 331146 in Portugal                                                            N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 39829795 in Germany                                                           N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 439813 in Indonesia                                                           N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 4454078 in Japan                                                              N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 455079 in Switzerland                                                         N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 762074 in Australia                                                           N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 802457 in India                                                               N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 820881503 in Brazil                                                           N/A          Unknown
AMFALWAYS MEANSFUN trademark no. 98732629 in France                                                            N/A          Unknown
AMFALWAYS MEANSFUN trademark no. IDM000189480 in Indonesia                                                     N/A          Unknown
AMFALWAYS MEANSFUN trademark no. T98/04837J in Singapore                                                       N/A          Unknown
AMFALWAYS MEANSFUN trademark no. TMA560190 in Canada                                                           N/A          Unknown
AMFALWAYS trademark no. T98/04836B in Singapore                                                                N/A          Unknown
AMFCLASSIC with Pinsplash Design trademark no. 01/3105362 in France                                            N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 2003B07676AA in Hong Kong                                        N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 2259972 in Argentina                                             N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 2269724 in United Kingdom                                        N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 2412366 in Spain                                                 N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 2412367 in Spain                                                 N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 2703766 in United States                                         N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 30129894 in Germany                                              N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 663263 in Chile                                                  N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 667372 in Chile                                                  N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 753302 in Mexico                                                 N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 755581 in Mexico                                                 N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 780084 in Mexico                                                 N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 823776646 in Brazil                                              N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 823776654 in Brazil                                              N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 823776662 in Brazil                                              N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. 875344 in Australia                                              N/A          Unknown
AMFCLASSIC withPinsplash Design trademark no. TMA609489 in Canada                                              N/A          Unknown
AMFCLASSIC withPinsplash Design(colored) trademark no. 4717030 in Japan                                        N/A          Unknown
AMFGENUINE PARTSand Design trademark no. in United States                                                      N/A          Unknown
AMFGOLD MEDALLANES trademark no. 899533 in Australia                                                           N/A          Unknown


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                                                         Case No. 12-36495
                                                             Schedule B22
                                  Personal Property - Patents, copyrights, and other intellectual property

                                        Patent/Trademark name                                                Expiration Date Net Book Value
AMFKIDSFEST andDesign trademark no. in United States                                                               N/A          Unknown
AMFStylized (Katakana Characters) trademark no. 1296241 in Japan                                                   N/A          Unknown
AMFSUMMER PASSandDesign trademark no. 4233982 in United States                                                     N/A          Unknown
AMFSUMMER UNPLUGGED TURNOFFTHE TV.TURNON THEFREEFUN. AndDesign trademark no.
                                                                                                                  N/A          Unknown
4234047 in United States
AMFTHUNDER BOWL trademark no. 165199 in Israel                                                                    N/A          Unknown
AMFTHUNDER BOWL trademark no. 1997253 in Argentina                                                                N/A          Unknown
AMFTHUNDER BOWL trademark no. 290472 in Federation ofRussia                                                       N/A          Unknown
AMFTHUNDER BOWL trademark no. 2924302 in United States                                                            N/A          Unknown
AMFTHUNDER BOWL trademark no. 3209491 in European Union (CTM)                                                     N/A          Unknown
AMFTHUNDER BOWL trademark no. 372938 in Portugal                                                                  N/A          Unknown
AMFTHUNDER BOWL trademark no. 442322 in India                                                                     N/A          Unknown
AMFTHUNDER BOWL trademark no. 4733408 in Japan                                                                    N/A          Unknown
AMFTHUNDER BOWL trademark no. 808035 in Mexico                                                                    N/A          Unknown
AMFTHUNDER BOWL trademark no. 956734 in Australia                                                                 N/A          Unknown
AMFwith TriangleDesign (Colored) trademark no. 240306 in Federation ofRussia                                      N/A          Unknown
AMFXTREME trademark no. 04/3309773 in France                                                                      N/A          Unknown
AMFXTREME trademark no. 1020202 in Australia                                                                      N/A          Unknown
AMFXTREME trademark no. 2371445 in United Kingdom                                                                 N/A          Unknown
AMFXTREME trademark no. 784320 in New Zealand                                                                     N/A          Unknown
BOWLINGand design trademark no. in Argentina                                                                      N/A          Unknown
BOWLOUT trademark no. 3502402 in United States                                                                    N/A          Unknown
Content License and Services Agreement (05/2007). Parties: Bowling Music Network Inc., and AMF
                                                                                                                  N/A          Unknown
Bowling Centers, Inc. Subject Matter: AMF licenses music and video content from BMN
Exclusive Licensing Agreement (08/2005). Licensor: the Borrower, Licensee: ZeniMax Media Inc.
Marks Covered: AMF BILLARDS & GAMES, AMF PLAYMASTER; First Amendment (4/26/2007);                                 N/A          Unknown
Second Amendment (10/7/2008).
GIO'SPIZZAand Design trademark no. 3235027 in United States                                                       N/A          Unknown
HANOVER LANES trademark no. 1531 in Virginia                                                                      N/A          Unknown
SLUGGO'Sand design trademark no. 2195726 in United States                                                         N/A          Unknown
Software License and Support Agreement (06/28/2007). Parties: Centaman Systems Pty Ltd., AMF
Bowling Centers, Inc., and the Borrower (Guarantor). Subject Matter: Centaman license of software to              N/A          Unknown
AMF.
STAY AND PLAY word mark                                                                                           N/A          Unknown
STAYAND PLAY trademark no. in United States                                                                       N/A          Unknown
STRIKINGLY DIFFERENT trademark no. 3399150 in United States                                                       N/A          Unknown
Trade Mark License Agreement (09/30/2004). Licensor: the Borrower, Licensee: AMF Bowling UK
                                                                                                                  N/A          Unknown
Limited. Marks Covered: AMF & Triangle Design, AMF & Pinsplash Design and AMF XTREME.
Trademark Agreement (06/13/2005). Licensor: the Borrower, Licensee: QubicaAMF Worldwide,
S.a.R.L.; QubicaAMF Worldwide, LLC; QubicaAMF Europe S.p.A. Marks Covered: AMF and all variations                 N/A          Unknown
thereof.
Trademark License Agreement (01/01/1997). Licensor: the Borrower, Licensee: Boliches AMF y
Compania. Marks Covered: AMF and all variations thereof; TLA Extension (1/1/2007); Third Amendment                N/A          Unknown
to TLA (1/1/2008).
Trademark License Agreement (02/16/1996). Licensor: AMF Bowling, Inc.
Licensee: Ben Hogan Company. Marks Covered: AMF and AMF & Design; Amendment to Trademark                          N/A          Unknown
License Agreement Borrower and Dynamic Brands (9/22/2004).
Trademark License Agreement ( 2008). Licensor: the Borrower, Licensee: Bowling Centres Australia Pty
                                                                                                                  N/A          Unknown
Limited. Marks: AMF and Triangle design, AMF XTREME.
Trademark License Agreement (01/01/1997). Licensor: the Borrower, Licensee: Societe Anonyme du
                                                                                                                  N/A          Unknown
Bowling de Montparnasse. Marks Covered: AMF and all variations thereof; TLA Extension (1/1/2007).
Trademark License Agreement (01/01/1997). Licensor: the Borrower, Licensee: AMF Bowling Centers,
Inc. Marks Covered: AMF and all variations thereof; TLA Extension (1/1/2007); Third Amendment to TLA              N/A          Unknown
(6/29/2009).
Trademark License Agreement (01/01/1997). Licensor: the Borrower, Licensee: AMF Bowling de Lyon de
Part Dieu. Marks Covered: AMF and all variations thereof; TLA Extension (1/1/2007); Third Amendment to            N/A          Unknown
TLA (7/1/2009).
Trademark License Agreement (02/08/2005). Licensor: the Borrower, Licensee: Bowling Centres
                                                                                                                  N/A          Unknown
Australia Pty Limited Marks: AMF & Triangle Design and AMF & Pinsplash Design.


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     Case 12-36495-KRH              Doc 322 Filed 01/10/13 Entered 01/10/13 23:34:49                                   Desc Main
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                                               In re: AMF Bowling Worldwide, Inc.
                                                        Case No. 12-36495
                                                            Schedule B22
                                 Personal Property - Patents, copyrights, and other intellectual property

                                    Patent/Trademark name                                                   Expiration Date Net Book Value
Trademark License Agreement (02/16/1996). Licensor: AMF Bowling, Inc. Licensee: AMF Machinery
Systems, Inc. Marks Covered: AMF, AMF & Design, AMFLOW, and other marks that incorporate the                     N/A          Unknown
initials of “AMF”.
Trademark License Agreement (02/16/1996). Licensor: AMF Bowling, Inc. Licensee: AMF Reece, Inc.
                                                                                                                 N/A          Unknown
Marks Covered: AMF, AMF & Design, and other marks that incorporate the initials of “AMF”.
Trademark License Agreement (11/20/1986). Licensor: AMF Bowling Companies, Inc.
Licensee: AMF Incorporated. Marks Covered: AMF and all variations thereof, ACCUDESK,
ACCUSCORE, ACCUTRAC, AKU-TRAK, AMFLITE II, ANGLE, ANGLE
                                                                                                                 N/A          Unknown
& Design, Angle Design, CLASSIC, DATAMAGIC, EXACTA, FRAMETER, LEISURELAND,
MAGICSCORE, PERMABASE, PINDICATOR, PINVEYOR, PINWHEEL, RADRAY, STRIKELINE,
TEMPO, THE ANGLE, TRI-OPTIC, UNDERLANE, X in a Square Design.
XTREME BOWLING trademark no. 04/3309776 in France                                                                N/A          Unknown
XTREME trademark no. 2224594 in United States                                                                    N/A          Unknown
XTREME trademark no. 882534 in Australia                                                                         N/A          Unknown
                                                                                                                    TOTAL     Unknown




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                                       In re: AMF Bowling Worldwide, Inc.
                                                Case No. 12-36495
                                                  Schedule B35
                     Personal Property - Other personal property of any kind not already listed
                           Description                                              Location          Net Book Value
PREPAID AGENCY FEES                                                       AMF SUPPORT CENTER               $74,054.43
PREPAID CCH                                                               AMF SUPPORT CENTER                $5,986.79
PREPAID CHECKPOINT - TAX                                                  AMF SUPPORT CENTER                $3,046.09
PREPAID FTI CONSULTING RETAINER                                           AMF SUPPORT CENTER             $175,000.00
PREPAID HILCO REAL ESTATE RETAINER                                        AMF SUPPORT CENTER             $305,000.00
PREPAID KEKST RETAINER                                                    AMF SUPPORT CENTER               $85,000.00
PREPAID KIRKLAND ELLIS RETAINER                                           AMF SUPPORT CENTER             $375,000.00
PREPAID KURTZMAN RETAINER                                                 AMF SUPPORT CENTER               $50,000.00
PREPAID KUTAK ROCK LLP RETAINER                                           AMF SUPPORT CENTER               $50,000.00
PREPAID MARCY SIMON                                                       AMF SUPPORT CENTER               $14,285.71
PREPAID MCGUIRE WOODS RETAINER                                            AMF SUPPORT CENTER             $250,000.00
PREPAID MCKINSEY RETAINER                                                 AMF SUPPORT CENTER             $225,000.00
PREPAID MILLER BUCKFIRE                                                   AMF SUPPORT CENTER               $60,000.00
PREPAID MOODY'S RATING FEES                                               AMF SUPPORT CENTER               $11,974.15
PREPAID O'MELVENY & MYERS LLP RETAINER                                    AMF SUPPORT CENTER             $175,000.00
PREPAID ONESOURCE TAX RETURN SOFTWARE                                     AMF SUPPORT CENTER               $21,208.51
PREPAID PINSENT MASONS RETAINER                                           AMF SUPPORT CENTER               $24,340.50
PREPAID RIA CHECKPOINT - FASB                                             AMF SUPPORT CENTER                $5,302.39
PREPAID S&P RATING FEES                                                   AMF SUPPORT CENTER               $13,222.27
PREPAID SIDLEY AUSTIN LLP RETAINER                                        AMF SUPPORT CENTER             $275,000.00
PREPAID STROOK & STROOK & LAVAN RETAINER                                  AMF SUPPORT CENTER             $175,000.00
PREPAID TAVENNER & BERAN, PLC RETAINER                                    AMF SUPPORT CENTER               $25,000.00
PREPAID TAX STREAM SOFTWARE LICENSE FEE                                   AMF SUPPORT CENTER                $7,061.54
PREPAID THE HODGES PARTNERSHIP RETAINER                                   AMF SUPPORT CENTER               $14,000.00
PREPAID THOMSON REUTERS - TAX CALENDAR, TRAINING WEBINAR                  AMF SUPPORT CENTER                 $126.44
PREPAID THOMSON REUTERS - TRANSFER PRICING                                AMF SUPPORT CENTER               $11,902.36
PREPAID TOWERS WATSON PA RETAINER                                         AMF SUPPORT CENTER               $25,000.00
PREPAID ZOLFO COOPER RETAINER                                             AMF SUPPORT CENTER               $74,113.50
                                                                                                TOTAL   $2,530,624.68




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                                                                                         AMF Bowling Worldwide Inc-SOAL B35.xlsx
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B6D (Official Form 6D) (12/07)

In re: AMF Bowling Worldwide, Inc.                                                                                           Case No. 12-36495 (KRH)

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
            State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured
 by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
 useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
 such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
            List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
 include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the
 husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled
 “HWJC.”
            If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
 labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one
 of these three columns.)


            Total the columns labeled "Amount of Claim Without Deducting Collateral" and "Unsecured Portion, if Any" in the boxes labeled
 "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of
 Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                  C   U    D
                CREDITOR'S NAME AND                                   DATE CLAIM WAS              O   N    I     AMOUNT OF CLAIM             UNSECURED
                   MAILING ADDRESS,              C                  INCURRED, NATURE              N   L    S         WITHOUT                 PORTION, IF
              INCLUDING ZIP CODE, AND            O    H                OF LIEN, AND               T   I    P     DEDUCTING VALUE                ANY
                AN ACCOUNT NUMBER                D    W              DESCRIPTION AND              I   Q    U      OF COLLATERAL
                 (See Instructions Above.)       E    J            VALUE OF PROPERTY              N   U    T
                                                 B    C               SUBJECT TO LIEN             G   I    E
                                                 T                                                E   D    D
                                                 O                                                N   A
                                                 R                                                T   T
                                                                                                      E
                                                                                                      D

                                                                                                                       $316,854,532.95                      $0.00
  See Schedule D Attachment




                                                                     Subtotal(s) (Total(s) on this page)           $316,854,532.95                      $0.00
                                                                       Total(s) (Use only on last page)            $316,854,532.95                      $0.00
                                                                                                            (Report also on       (If applicable, report
                                                                                                            Summary of Schedules) also on Statistical
                                                                                                                                  Summary of Certain
                                                                                                                                  Liabilities and
                                                                                                                                  Related Data)




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                                                                                                                       Case No. 12-36495
                                                                                                                             Schedule D
                                                                                                                  Creditors Holding Secured Claims




                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                       Contingent
                                                                                           Codebtor




                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                                                                                                               Amount of claim
                                                                                                                                                                                                                                                              without deducting       Unsecured
           Creditor's Name                     Address              City   State    Zip                 Date claim was incurred, nature of lien and description and value of property subject to lien                                                         value of collateral    portion, if any

                                                                                               First Lien Term Loan: First priority, perfected lien on all Receivables, Inventory, General Intangibles, Intellectual
                                                                                               Property, Documents, Equipment, Investment Property Deposit Accounts, As-Extracted
                                                                                               Collateral, Collateral Accounts, books and records, and all proceeds of the foregoing.
Credit Suisse as Administrative Agent   Eleven Madison Avenue   New York   NY      10010     X                                                                                                                            X                          X            $217,219,638.43            Unknown
                                                                                               First priority pledge in all Stock, Instruments, LLC Interests, Partnership Interests, Investment
                                                                                               Property, Financial Assets, General Intangibles, and all proceeds thereof. Generally, pledge of
                                                                                               guarantor interests from AMF Bowling Worldwide, Inc. and down.


                                                                                               First Lien Revolving Loan: First priority, perfected lien on all Receivables, Inventory, General Intangibles,
                                                                                               Intellectual
                                                                                               Property, Documents, Equipment, Investment Property Deposit Accounts, As-Extracted
Credit Suisse as Administrative Agent   Eleven Madison Avenue   New York   NY      10010     X Collateral, Collateral Accounts, books and records, and all proceeds of the foregoing.                                     X                          X              $19,634,894.52           Unknown
                                                                                               First priority pledge in all Stock, Instruments, LLC Interests, Partnership Interests, Investment
                                                                                               Property, Financial Assets, General Intangibles, and all proceeds thereof. Generally, pledge of
                                                                                               guarantor interests from AMF Bowling Worldwide, Inc. and down.


                                                                                               Second Lien Credit Facility: Second priority, perfected lien on all Receivables, Inventory, General Intangibles,
                                                                                               Intellectual
                                                                                               Property, Documents, Equipment, Investment Property Deposit Accounts, As-Extracted
Credit Suisse as Administrative Agent   Eleven Madison Avenue   New York   NY      10010     X Collateral, Collateral Accounts, books and records, and all proceeds of the foregoing.                                     X                          X              $80,000,000.00           Unknown
                                                                                               Second priority pledge in all Stock, Instruments, LLC Interests, Partnership Interests, Investment
                                                                                               Property, Financial Assets, General Intangibles, and all proceeds thereof. Generally, pledge of
                                                                                               guarantor interests from AMF Bowling Worldwide, Inc. and down.

                                                                                                                                                                                                                                    TOTAL                         $316,854,532.95           Unknown




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B6E (Official Form 6E) (04/10)

In re: AMF Bowling Worldwide, Inc.                                                                                                         Case No. 12-36495 (KRH)

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
 address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
 property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
 the type of priority.

      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian,
 such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
 entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "HWJC." If the
 claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these
 three columns.)




    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
 Schedule E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
 amounts entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
 with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
 amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual
 debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.



         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIM (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic Support Obligations

        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible
    relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).



         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of
    a trustee or the order for relief. 11 U.S.C. § 507(a)(3).


         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent
    sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of
    business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    *Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




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B6E (Official Form 6E) (04/10) - Cont.


In re: AMF Bowling Worldwide, Inc.                                                                                                           Case No. 12-36495 (KRH)

          Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


          Deposits by individuals

         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).


          Taxes and Certain Other Debts Owed to Governmental Units

         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution

        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for Death or Personal Injury While Debtor Was Intoxicated

        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507 (a)(10).


     *Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




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B6E (Official Form 6E) (04/10) - Cont.

In re: AMF Bowling Worldwide, Inc.                                                                                  Case No. 12-36495 (KRH)

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        (Continuation Sheet)


                                                                                   C      U   D
                                                 C                                 O      N   I
               CREDITOR'S NAME,                  O           DATE CLAIM WAS        N      L   S   AMOUNT          AMOUNT                AMOUNT
               MAILING ADDRESS,                  D    H       INCURRED AND         T      I   P     OF            ENTITLED                NOT
              INCLUDING ZIP CODE,                E    W      CONSIDERATION         I      Q   U    CLAIM             TO                 ENTITLED
             AND ACCOUNT NUMBER                  B    J          FOR CLAIM         N      U   T                   PRIORITY                 TO
              (See Instructions Above.)          T    C                            G      I   E                                        PRIORITY, IF
                                                 O                                 E      D   D                                            ANY
                                                 R                                 N      A
                                                                                   T      T
                                                                                          E
                                                                                          D

                                                                                                      $1,800.00              Unknown           Unknown

See Schedule E Attachment




                                                     Subtotals (Totals on this page):               $1,800.00                 $0.00             $0.00
                                                                             Total:                 $1,800.00
                                          (Report also on the Summary of Schedules)
                                                                                Totals:                                       $0.00             $0.00
                                             (Report also on the Statistical Summary
                                                  of Certain Liabilities Related Data)




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                                                                                                  In re: AMF Bowling Worldwide, Inc.
                                                                                                           Case No. 12-36495
                                                                                                                 Schedule E
                                                                                                 Creditors Holding Unsecured Priority Claims




                                                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                                                 Contingent
                                                                                                                                                                  Codebtor




                                                                                                                                                                                                                                             Disputed
                                                                                                                                                                                                                                                                                                Amount not
                                                                                                                                                                                 Date claim was incurred and                                            Total amount of   Amount entitled to     entitled to
Creditor's Name                  Creditor Notice Name   Address 1                    Address 2                 City                 State Zip           Country                     consideration for claim                                                  claim            priority         priority, if any
California Franchise Tax Board                          P.O. Box 942857                                        Sacramento           CA    94257-0551                         Corporate Income Tax FYE 7/1/2012     X                                        $800.00           Unknown            Unknown
                                                                                                                                                                             Corporate Income Tax Short-Period
California Franchise Tax Board                          P.O. Box 942857                                        Sacramento           CA     94257-0551                        Ended 11/12/2012                      X                                       $800.00            Unknown            Unknown
SC Dept. of Revenue                                     Corporation Tax Return                                 Columbia             SC     29214-0033                        Franchise Tax FYE 7/1/2012            X                                       $100.00            Unknown            Unknown
                                                                                                                                                                             Franchise Tax Short-Period Ended
SC Dept. of Revenue                                     Corporation Tax Return                                 Columbia             SC     29214-0033                        11/12/2012                            X                                        $100.00           Unknown            Unknown
                                                                                                                                                                                                                              TOTAL                        $1,800.00          Unknown            Unknown




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B6F (Official Form 6F) (12/07)

In re: AMF Bowling Worldwide, Inc.                                                                                            Case No. 12-36495 (KRH)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any
account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor
child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D
and E. If all creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
“Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these
three columns.)

     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total
also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.




           Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                                                                                                C    U    D
                  CREDITOR'S NAME,                C                            DATE CLAIM WAS                   O    N    I        AMOUNT OF CLAIM
                  MAILING ADDRESS,                O                             INCURRED AND                    N    L    S
                 INCLUDING ZIP CODE,              D     H                    CONSIDERATION FOR                  T    I    P
                AND ACCOUNT NUMBER                E     W                          CLAIM.                       I    Q    U
                  (See Instructions Above.)       B     J                  IF CLAIM IS SUBJECT TO               N    U    T
                                                  T     C                     SETOFF, SO STATE.                 G    I    E
                                                  O                                                             E    D    D
                                                  R                                                             N    A
                                                                                                                T    T
                                                                                                                     E
                                                                                                                     D


                                                                                                                                          $8,610,156.64
  See Schedule F Attachment




                                                                                                Subtotal (Total on this page)             $8,610,156.64
                                                                                                                       Total              $8,610,156.64
                                                              (Report also on Summary of Schedules and, if applicable, on
                                                            the Statistical Summary of Certain Liabilities and Related Data.)




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                                                                                                                     Schedule F
                                                                                                         Creditors Holding Unsecured Claims




                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                              Date claim was incurred
                                                                                                                                                                                                         Subject to                                           Total amount of
          Creditor's Name                Address 1                      Address 2             Address 3                       City             State      Zip       Country    and consideration for
                                                                                                                                                                                                         setoffs Y/N                                               claim
                                                                                                                                                                                       claim

3M COMPANY                                                                                                                                                                         Litigation claim                       X            X             X               Unknown
                              c/o Glen Kulik, Esquire, Julik,                              15303 Ventura
4 Bowl, LLC                                                   Comerica Bank Building                           Sherman Oaks                   CA       91403                       Litigation claim                       X            X             X               Unknown
                              Gottesman, Mouton & Siegel, LLP                              Blvd.
9425 TRADING                  Focus 31                           North Wing                Hertfordshire       Hemel Hempstead                         HP 7BW       UK            Lease Guarantee                         X            X             X               Unknown
9524 TRADING                  Focus 31                           North Wing                Hertfordshire       Hemel Hempstead                         HP 7BW       UK              Lease claim                           X            X             X               Unknown
9524 TRADING                  STAR HOUSE                         STAR HILL                 ROCHESTER           KENT                                    ME1 1UX      UK            Lease Guarantee                         X            X             X               Unknown
ALLIANCE MACHINE CO                                                                                                                                                                Litigation claim                       X            X             X               Unknown
                              c/o Kurowski Shultz LLC, Attn:                               101 West
AMERICAN BILTRITE INC                                            Mark Twain I, Suite 325                       Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
                              Kurowski, John J                                             Vandalia Street
                              c/o Lucco Brown Threlkeld &
AMERICAN OPTICAL
                              Dawson LLP, Attn: Zahalsky,        224 St. Louis Street                          Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
CORPORATION
                              Debra Kelly
AMERON INTERNATIONAL
                              c/o Foley & Mansfield-St Louis,    1001 Highlands Plaza
CORPORATION IND AND AS                                                                     Suite 400           St. Louis                      MO       63110                       Litigation claim                       X            X             X               Unknown
                              Attn: Denk, Lawrence S             Drive West
SUC/INT TO BONDS
AMF Bowling                   Focus 31                           North Wing                Hertfordshire       Hemel Hempstead                         HP 7BW       UK              Lease Guarantee                       X            X             X               Unknown
AMF Bowling (Traditional)     Focus 31                           North Wing                Hertfordshire       Hemel Hempstead                         HP 7BW       UK              Lease Guarantee                       X            X             X               Unknown
                                                                                                                                                                              Intercompany payable due
AMF Bowling Centers, Inc.     7313 Bell Creek Road                                                             Mechanicsville                 VA       23111                   to AMF Bowling Centers,                                                             $25,098.40
                                                                                                                                                                                           Inc.
                                                                                                                                                                              Intercompany payable due
AMF Holdings                  7313 Bell Creek Road                                                             Mechanicsville                 VA       23111                                                                                                     $6,233,060.96
                                                                                                                                                                                 to AMF Holdings Inc.
AMF INC                                                                                                                                                                              Litigation claim                     X            X             X               Unknown
                                                                                                                                                                              Intercompany payable due
AMF WBCH LLC                  7313 Bell Creek Road                                                             Mechanicsville                 VA       23111                                                                                                      $993,664.00
                                                                                                                                                                                  to AMF WBCH, LLC
                           c/o Greensfelder Hemker & Gale        10 South Broadway,
ARVINMERITOR INC                                                                                               St. Louis                      MO       63102                       Litigation claim                       X            X             X               Unknown
                           PC, Attn: Johnson, Dayna L            Suite 2000
                           c/o Segal McCambridge Singer &
                                                                 233 S. Wacker Drive,
AURORA PUMP COMPANY        Mahoney, Attn: Woodworth, Nancy                                                     Chicago                        IL       60606                       Litigation claim                       X            X             X               Unknown
                                                                 Suite 5500
                           S
AVOCET ENTERPRISES INC FKA c/o McKenna Storer, Attn:             33 North LaSalle St.,
                                                                                                               Chicago                        IL       60602-2610                  Litigation claim                       X            X             X               Unknown
VENTFABRICS INC            Cochran, Gregory L                    Suite 1400
BEAZER EAST INC FKA        c/o Kurowski Shultz LLC, Attn:                                  101 West
                                                                 Mark Twain I, Suite 325                       Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
KOPPERS INDUSTRIES INC     Kurowski, John J                                                Vandalia Street
BEAZER EAST IND AND AS
                           c/o Kurowski Shultz LLC, Attn:                                  101 West
SUC/INT TO THIEM AND AS                                          Mark Twain I, Suite 325                       Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
                           Kurowski, John J                                                Vandalia Street
SUC/INT TO UN
BORG WARNER CORPORATION
                           c/o Herzog Crebs LLP, Attn: Ward,                               130 North Main
BY ITS SUC/INT BORG WARNER                                       P.O. Box 510                                  Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
                           Don W                                                           Street
MORSE TEC
                                                                                           100 North
                              c/o Williams Venker & Sanders
BRAND INSULATION COMPANY                                         Bank of America Tower     Broadway, 21st      St. Louis                      MO       63102                       Litigation claim                       X            X             X               Unknown
                              LLC, Attn: Rychnovsky, Mary
                                                                                           Floor
BURCH DORIS AS SPC ADM OF     c/o Gori Julian & Associates PC,
                                                                 156 North Main Street                         Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
EST OF JAMES E BURCH          Attn: Gori, Randy L
                              c/o Gori Julian & Associates PC,
BURCH, DORIS                                                     156 North Main Street                         Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
                              Attn: Gori, Randy L
                                                                                           105 West
                              c/o Heyl Royster Voelker & Allen   Mark Twain Plaza III,
CARBOLINE COMPANY                                                                          Vandalia Street,    Edwardsville                   IL       62025                       Litigation claim                       X            X             X               Unknown
                              PC, Attn: Plotner, Kent L          Suite 100
                                                                                           PO Box 467




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                                                                                                                     Schedule F
                                                                                                         Creditors Holding Unsecured Claims




                                                                                                                                                                                                                                   Unliquidated
                                                                                                                                                                                                                      Contingent


                                                                                                                                                                                                                                                  Disputed
                                                                                                                                                                              Date claim was incurred
                                                                                                                                                                                                        Subject to                                           Total amount of
          Creditor's Name                 Address 1                      Address 2            Address 3                       City             State      Zip       Country    and consideration for
                                                                                                                                                                                                        setoffs Y/N                                               claim
                                                                                                                                                                                       claim

CARDINAL INDUSTRIAL
                                                                                                                                                                                  Litigation claim                       X            X             X               Unknown
INSULATION COMPANY INC
CBS CORPORATION A
                              c/o Foley & Mansfield-St Louis,     1001 Highlands Plaza
DELAWARE CORP FKA VIACOM                                                                  Suite 400            St. Louis                      MO       63110                      Litigation claim                       X            X             X               Unknown
                              Attn: Donahue, Daniel               Drive West
INC SUC BY MERG
CERTAIN TEED CORPORATION                                                                                                                                                          Litigation claim                       X            X             X               Unknown
CHAMPLAIN CABLE               c/o Armstrong Teasdale LLP, Attn:
CORPORATION IND AND AS        Kidd, Anita & FOURNIE,              23 South First Street                        Belleville                     IL       62220                      Litigation claim                       X            X             X               Unknown
SUC/INT TO HAVEG PIPE         RAYMOND R
CLARK RELIANCE                c/o Reeg Lawyers LLC, Attn:         One North Brentwood
                                                                                          Suite 950            St. Louis                      MO       63105                      Litigation claim                       X            X             X               Unknown
CORPORATION                   Reeg, Kurtis B                      Blvd
CLARK RELIANCE                c/o Sholtz, Philip, Attn: Sholtz,   One North Brentwood
                                                                                          Suite 950            St. Louis                      MO       63105                      Litigation claim                       X            X             X               Unknown
CORPORATION                   Philip                              Blvd
CLEAVER BROOKS A DIVISION     c/o OConnell Tivin Miller & Burns
                                                                  223 S. Main Street                           Edwardsville                   IL       62025                      Litigation claim                       X            X             X               Unknown
OF AQUA CHEM INC              LLC, Attn: Miller, Jackie
                              10 SOUTH WACKER DR STE                                                                                                                          Monthly Management Fee
Code Hennessy & Simmons                                                                                        CHICAGO                        IL       60606                                                             X            X             X           $1,233,333.28
                              3175                                                                                                                                                (May to Nov'12)
                              c/o Segal McCambridge Singer &
                                                                  233 S. Wacker Drive,
CONTINENTAL TEVES             Mahoney, Attn: Woodworth, Nancy                                                  Chicago                        IL       60606                      Litigation claim                       X            X             X               Unknown
                                                                  Suite 5500
                              S
CONWED CORPORATION IND
                              c/o Hinshaw & Culbertson LLP ,
AND AS SUC/INT TO WOOD                                            101 West Vandalia Street Suite 200           Edwardsville                   IL       62025                      Litigation claim                       X            X             X               Unknown
                              Attn: Graber, Dennis J
CONVERSION CO
                              c/o Johnson & Bell Ltd, Attn:       33 West Monroe St.
COOPER CROUSE HINDS LLC                                                                                        Chicago                        IL       60603-5404                 Litigation claim                       X            X             X               Unknown
                              Mueller, Frederick S                Suite 2700
COOPER ELECTRIC SUPPLY CO c/o Segal McCambridge Singer & 233 S. Wacker Drive,
                                                                                                               Chicago                        IL       60606                      Litigation claim                       X            X             X               Unknown
A DIVISION OF SONEPAR USA Mahoney, Attn: McMahon, Greg M Suite 5500
                                                                                          100 North
                              c/o Williams Venker & Sanders
COOPER INDUSTRIES INC                                             Bank of America Tower   Broadway, 21st       St. Louis                      MO       63102                      Litigation claim                       X            X             X               Unknown
                              LLC, Attn: Rychnovsky, Mary
                                                                                          Floor
                              c/o Polsinelli Shughart PC - St     100 S. Fourth Street,
CRANE COMPANY                                                                                                  St. Louis                      MO       63102                      Litigation claim                       X            X             X               Unknown
                              Louis, Attn: Dobbels, Dennis        Suite 1000
CROWN CORK & SEAL USA INC                                                                                                                                                         Litigation claim                       X            X             X               Unknown
CSR INC                                                                                                                                                                           Litigation claim                       X            X             X               Unknown
CSR LTD                                                                                                                                                                           Litigation claim                       X            X             X               Unknown
                                                                                          105 West
                              c/o Heyl Royster Voelker & Allen    Mark Twain Plaza III,
DANA COMPANIES LLC                                                                        Vandalia Street,     Edwardsville                   IL       62025                      Litigation claim                       X            X             X               Unknown
                              PC, Attn: Plotner, Kent L           Suite 100
                                                                                          PO Box 467
                              c/o Segal McCambridge Singer &
                                                                  233 S. Wacker Drive,
DAP INC                       Mahoney, Attn: Goldhaber,                                                        Chicago                        IL       60606                      Litigation claim                       X            X             X               Unknown
                                                                  Suite 5500
                              Catherine
                              c/o Segal McCambridge Singer &
                                                                  233 S. Wacker Drive,
DRAVO CORPORATION             Mahoney, Attn: Goldhaber,                                                        Chicago                        IL       60606                      Litigation claim                       X            X             X               Unknown
                                                                  Suite 5500
                              Catherine
Dukecourt Property Co.        Ashley Moore Hall                   Orelton Ludlow                               Shropshire                              SY8 4JJ      UK           Lease Guarantee                         X            X             X               Unknown
Dunepower Ltd.                Crown House                         145 City Road                                London                                  EC1V 1LP     UK           Lease Guarantee                         X            X             X               Unknown
                                                                                          One South
                              c/o Pretzel & Stouffer, Attn:       Pretzel & Stouffer,
DURO DYNE CORPORATION                                                                     Wacker Drive,        Chicago                        IL       60606                      Litigation claim                       X            X             X               Unknown
                              Zelkowitz, Alan S                   Chartered
                                                                                          Suite 2500




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                                                                                                           Creditors Holding Unsecured Claims




                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                             Contingent


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                                                                                                                                                                                 Date claim was incurred
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         Creditor's Name                  Address 1                       Address 2             Address 3                       City             State      Zip       Country     and consideration for
                                                                                                                                                                                                               setoffs Y/N                                               claim
                                                                                                                                                                                          claim


FERRO ENGINEERING A
                                                                                                                                                                                      Litigation claim                          X            X             X               Unknown
DIVISION OF OGLEBAY NORTON
FLOWSERVE CORP IND AND AS
                               c/o Segal McCambridge Singer & 233 S. Wacker Drive,
SUC/INT TO BW IP                                                                                                 Chicago                        IL       60606                        Litigation claim                          X            X             X               Unknown
                               Mahoney, Attn: Turner, Cameron Suite 5500
INTERNATIONAL INC
FLOWSERVE US INC IND AND AS
                               c/o Herzog Crebs LLP, Attn:                                   130 North Main
SUC/INT TO ROCKWELL                                                P.O. Box 510                                  Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
                               Smith, Gary L                                                 Street
MANUFACTURIN
                               c/o Greensfelder Hemker & Gale      10 South Broadway,
FORD MOTOR COMPANY                                                                                               St. Louis                      MO       63102                        Litigation claim                          X            X             X               Unknown
                               PC, Attn: Ybarra, David W           Suite 2000
FOSTER WHEELER                 c/o Segal McCambridge Singer & 233 S. Wacker Drive,
                                                                                                                 Chicago                        IL       60606                        Litigation claim                          X            X             X               Unknown
CORPORATION                    Mahoney, Attn: Turner, Cameron Suite 5500

                               c/o Segal McCambridge Singer & 233 S. Wacker Drive,
GARDNER DENVER INC                                                                                               Chicago                        IL       60606                        Litigation claim                          X            X             X               Unknown
                               Mahoney, Attn: Turner, Cameron Suite 5500
Garland Leisure, Ltd.          Mythe Farm, Pinwall Lane            Sheepy Magna              Atherstone          Warwickshire                            CV9 3PF      UK               Lease claim                              X            X             X               Unknown
                               c/o Armstrong Teasdale LLP, Attn:
GENERAL ELECTRIC COMPANY                                           23 South First Street                         Belleville                     IL       62220                        Litigation claim                          X            X             X               Unknown
                               Kidd, Anita
                               c/o GOWEN, GREGORY, Attn:           555 N Carancahua Street
GENERAL ELECTRIC COMPANY                                                                                         Corpus Christi                 TX       78478-0801                   Litigation claim                          X            X             X               Unknown
                               GOWEN, GREGORY                      # 1400
GENERAL REFRACTORIES
                                                                                                                                                                                      Litigation claim                          X            X             X               Unknown
COMPANY
                               c/o Foley & Mansfield-St Louis,     1001 Highlands Plaza
GEORGE P REINTJES CO INC                                                                     Suite 400           St. Louis                      MO       63110                        Litigation claim                          X            X             X               Unknown
                               Attn: Donahue, Daniel               Drive West
GEORGIA PACIFIC                c/o Hepler Broom LLC, Attn:                                   130 North Main
                                                                   P.O. Box 510                                  Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
CORPORATION                    Sheehan, Sean P                                               Street
                                                                                             100 North
                               c/o Williams Venker & Sanders
GOODYEAR TIRE & RUBBER CO                                          Bank of America Tower     Broadway, 21st      St. Louis                      MO       63102                        Litigation claim                          X            X             X               Unknown
                               LLC, Attn: Rychnovsky, Mary
                                                                                             Floor
                               c/o Hinshaw & Culbertson LLP ,
GOULDS PUMPS IPG INC                                               101 West Vandalia Street Suite 200            Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
                               Attn: Graber, Dennis J
                                                                                                                                                                                Liquidated pension plan that
Greater St. Louis Employees'
                               5585 PERSHING AVE STE 110                                                         ST LOUIS                       MO       63112-1762               requires payments from                       X             X             X               Unknown
Pension Fund
                                                                                                                                                                                 AMF Bowling Centers, Inc.
                               c/o Armstrong Teasdale LLP, Attn:
HERCULES INC                                                     23 South First Street                           Belleville                     IL       62220                        Litigation claim                          X            X             X               Unknown
                               Kidd, Anita
HOLLINGSWORTH & VOSE           c/o Hepler Broom LLC, Attn:                                   130 North Main
                                                                 P.O. Box 510                                    Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
COMPANY                        Sheehan, Sean P                                               Street
                               c/o Kurowski Shultz LLC, Attn:                                101 West
HOMASOTE COMPANY                                                 Mark Twain I, Suite 325                         Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
                               Kurowski, John J                                              Vandalia Street
                                                                                             105 West
                               c/o Heyl Royster Voelker & Allen    Mark Twain Plaza III,
HONEYWELL INC                                                                                Vandalia Street,    Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
                               PC, Attn: Plotner, Kent L           Suite 100
                                                                                             PO Box 467
ILLINOIS TOOL WORKS INC IND
                               c/o Hepler Broom LLC, Attn:                                   130 North Main
AND AS SUC/INT TO DEVCON                                           P.O. Box 510                                  Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
                               Sheehan, Sean P                                               Street
CORPORA
                                                                                             105 West
                               c/o Heyl Royster Voelker & Allen    Mark Twain Plaza III,
IMO INDUSTRIES INC                                                                           Vandalia Street,    Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
                               PC, Attn: LaConte, Lisa A           Suite 100
                                                                                             PO Box 467




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                                                                                                             Creditors Holding Unsecured Claims




                                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                                          Contingent


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                                                                                                                                                                                  Date claim was incurred
                                                                                                                                                                                                            Subject to                                           Total amount of
        Creditor's Name                     Address 1                       Address 2             Address 3                       City             State      Zip       Country    and consideration for
                                                                                                                                                                                                            setoffs Y/N                                               claim
                                                                                                                                                                                           claim

INDUSTRIAL HOLDING
                                 c/o Hepler Broom LLC, Attn:                                   130 North Main
CORPORATION FKA                                                      P.O. Box 510                                  Edwardsville                   IL       62025                      Litigation claim                       X            X             X               Unknown
                                 Sheehan, Sean P                                               Street
CARBORUNDUM COMPANY
                                 c/o Hepler Broom LLC, Attn:                                   130 North Main
INGERSOLL RAND COMPANY                                               P.O. Box 510                                  Edwardsville                   IL       62025                      Litigation claim                       X            X             X               Unknown
                                 Sheehan, Sean P                                               Street
INTERNATIONAL PAPER
                                 c/o Faegre Baker Daniels LLP-  311 S. Wacker Drive,
COMPANY IND AND AS SUC/INT                                                                                         Chicago                        IL       60606-6622                 Litigation claim                       X            X             X               Unknown
                                 Chicago, Attn: FINNIGAN, MINDY Suite 4400
TO US PLYWOOD
iStar Bowling Centers II, L.P.   1114 Avenue of the Americas                                                       NEW YORK                       NY       10036                      Litigation claim                       X            X             X               Unknown
iStar Bowling Centers II, LLC    1114 Avenue of the Americas                                                       NEW YORK                       NY       10036                      Litigation claim                       X            X             X               Unknown
                                 c/o McGuireWoods LLP, Attn:         77 West Wacker Drive,
ITT CORPORATION                                                                                                    Chicago                        IL       60601                      Litigation claim                       X            X             X               Unknown
                                 Rogers, Jeffrey E                   Suite 4100
                                 c/o Segal McCambridge Singer & 233 S. Wacker Drive,
J H FRANCE REFRACTORIES CO                                                                                         Chicago                        IL       60606                      Litigation claim                       X            X             X               Unknown
                                 Mahoney, Attn: Turner, Cameron Suite 5500
J M MANUFACTURING COMPANY        c/o Kurowski Shultz LLC, Attn:                                101 West
                                                                     Mark Twain I, Suite 325                       Edwardsville                   IL       62025                      Litigation claim                       X            X             X               Unknown
INC                              Kurowski, John J                                              Vandalia Street
JAMES WALKER                     c/o Litchfield Cavo LLP-Chicago,
                                                                     303 W. Madison            Suite 300           Chicago                        IL       60606-3300                 Litigation claim                       X            X             X               Unknown
MANUFACTURING CO                 Attn: Crawford, Thomas M
                                 c/o OConnell Tivin Miller & Burns   33 North LaSalle St.,
JOHN CRANE INC                                                                                                     Chicago                        IL       60602-2610                 Litigation claim                       X            X             X               Unknown
                                 LLC, Attn: Burns, Edward            Suite 1400
                                 c/o Foley & Mansfield-St Louis,     1001 Highlands Plaza
JOHNSTON BOILER                                                                                Suite 400           St. Louis                      MO       63110                      Litigation claim                       X            X             X               Unknown
                                 Attn: Newport, Michael W            Drive West
JOLEY NUSSBAUMER OLIVER
                                                                                                                                                                                      Litigation claim                       X            X             X               Unknown
DICKERSON AND BEASLEY
KELLY MOORE PAINT COMPANY                                                                                                                                                             Litigation claim                       X            X             X               Unknown

                                 c/o Segal McCambridge Singer & 233 S. Wacker Drive,
KENTILE FLOORS INC                                                                                                 Chicago                        IL       60606                      Litigation claim                       X            X             X               Unknown
                                 Mahoney, Attn: Turner, Cameron Suite 5500
KUBOTA TRACTOR                   c/o Lewis Rice & Fingersh-Saint
                                                                     600 Washington            Suite 2500          St. Louis                      MO       63101                      Litigation claim                       X            X             X               Unknown
CORPORATION                      Louis, Attn: Nieder, Douglas
LEAR SIEGLER DIVERSIFIED
                                                                                                                                                                                      Litigation claim                       X            X             X               Unknown
HOLDING INC
                            c/o Thompson Coburn LLP-
LORILLARD TOBACCO COMPANY                                            525 West Main Street                          Belleville                     IL       62220-1547                 Litigation claim                       X            X             X               Unknown
                            Belleville, Attn: McGinley, Kevin
MAGID GLOVE AND SAFETY
                            c/o Johnson & Bell Ltd, Attn:            33 West Monroe St.
MANUFACTURING COMPANY                                                                                              Chicago                        IL       60603-5404                 Litigation claim                       X            X             X               Unknown
                            Toohey, James K                          Suite 2700
LLC
                            c/o Joley Nussbaumer Oliver &
METROPOLITAN LIFE
                            Beasley PC, Attn: Joley Esq,             8 E. Washington Street                        Belleville                     IL       62220                      Litigation claim                       X            X             X               Unknown
INSURANCE CO
                            Charles L
MINE SAFETY APPLIANCES      c/o SmithAmundsen LLC-St Louis,
                                                                     12312 Olive Blvd          Suite 100           St. Louis                      MO       63141-6448                 Litigation claim                       X            X             X               Unknown
COMPANY                     Attn: Muskopf, Jeff W
MOMENTIVE SPECIALTY
                            c/o Brown & James-, Attn:                                          800 Market
CHEMICALS INC AS SUC/INT TO                                          Bank of America Plaza                         St. Louis                      MO       63101-2501                 Litigation claim                       X            X             X               Unknown
                            Bronsky, AJ                                                        Street, Ste 1100
BORDEN CHEMI
MONICA STEWART and FELIX
                            82 Elmer Avenue                                                                        Buffalo                        NY       14215                      Litigation claim                       X            X             X               Unknown
STEWART, her spouse
NATIONAL SERVICE INDUSTRIES
                                                                                                                                                                                      Litigation claim                       X            X             X               Unknown
INC FKA NORTH BROTHERS INC




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                                                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                                                        Disputed
                                                                                                                                                                                  Date claim was incurred
                                                                                                                                                                                                              Subject to                                           Total amount of
        Creditor's Name                     Address 1                       Address 2             Address 3                       City             State      Zip       Country    and consideration for
                                                                                                                                                                                                              setoffs Y/N                                               claim
                                                                                                                                                                                           claim

                                                                                               105 West
NMBFIL INC FKA BONDO             c/o Heyl Royster Voelker & Allen    Mark Twain Plaza III,
                                                                                               Vandalia Street,    Edwardsville                   IL       62025                       Litigation claim                        X            X             X               Unknown
CORPORATION                      PC, Attn: Schag, Michael            Suite 100
                                                                                               PO Box 467
                          c/o Lewis Rice & Fingersh-Saint
NOOTER CORPORATION                                                   600 Washington            Suite 2500          St. Louis                      MO       63101                       Litigation claim                        X            X             X               Unknown
                          Louis, Attn: Nieder, Douglas
Parham Investment Limited 3rd Floor, St. James's Street                                                            London                                  SW1A1JD      UK            Lease Guarantee                          X            X             X               Unknown
                          c/o Swanson Martin & Bell LLP,
PEERLESS PUMP COMPANY INC                                            330 N. Wabash             Suite 3300          Chicago                        IL       60611                       Litigation claim                        X            X             X               Unknown
                          Attn: Gollwitzer, John
                          c/o Greensfelder Hemker & Gale             10 South Broadway,
PFIZER INC                                                                                                         St. Louis                      MO       63102                       Litigation claim                        X            X             X               Unknown
                          PC, Attn: O'Malley, Kevin                  Suite 2000
                          c/o Segal McCambridge Singer &
PLASTICS ENGINEERING                                                 233 S. Wacker Drive,
                          Mahoney, Attn: McCambridge,                                                              Chicago                        IL       60606                       Litigation claim                        X            X             X               Unknown
COMPANY                                                              Suite 5500
                          Edward
                                                                                               100 North
PNEUMO ABEX LLC SUC/INT TO       c/o Williams Venker & Sanders
                                                                     Bank of America Tower     Broadway, 21st      St. Louis                      MO       63102                       Litigation claim                        X            X             X               Unknown
ABEX CORPORATION                 LLC, Attn: Rychnovsky, Mary
                                                                                               Floor
RAPID AMERICAN
                                 c/o SNR Denton US LLP-Saint                                   211 N. Broadway,
CORPORATION AS SUC/INT TO                                            One Metropolitan Square                    St. Louis                         MO       63102-2741                  Litigation claim                        X            X             X               Unknown
                                 Louis, Attn: Douglas, Celia                                   Suite 3000
PHILIP CAREY CORP
REUNION INDUSTRIES INC
                                 c/o Matushek Nilles & Sinars LLC, 55 West Monroe Street,
INDIVID AND AS SUCC/INT TO                                                                                         Chicago                        IL       60603                       Litigation claim                        X            X             X               Unknown
                                 Attn: Matushek, Edward J          Suite 700
ALLIANCE M
                                 c/o Tressler LLP – Chicago, Attn:
RIC WIL INC                                                          233 S. Wacker Drive       22nd Floor          Chicago                        IL       60606                       Litigation claim                        X            X             X               Unknown
                                 Grossmark, Steve
                                                                                               105 West
RILEY POWER INC FKA RILEY        c/o Heyl Royster Voelker & Allen    Mark Twain Plaza III,
                                                                                               Vandalia Street,    Edwardsville                   IL       62025                       Litigation claim                        X            X             X               Unknown
STOKER CORPORATION               PC, Attn: Plotner, Kent L           Suite 100
                                                                                               PO Box 467
ROCKWELL AUTOMATION INC
                          c/o Kurowski Shultz LLC, Attn:                                       101 West
FKA ALLEN BRADLEY COMPANY                                            Mark Twain I, Suite 325                       Edwardsville                   IL       62025                       Litigation claim                        X            X             X               Unknown
                          Kurowski, John J                                                     Vandalia Street
INC IND
                                                                                                                                                                                  February 1 2002, lifetime
Roland Smith                     Square Marie Curie 40                                                             Brussels                       Belgium 1070                    nonqualified supplemental                    X            X             X            $125,000.00
                                                                                                                                                                                     retirement benefit
                                                                                               100 North
                                 c/o Williams Venker & Sanders
RUST INTERNATIONAL INC                                               Bank of America Tower     Broadway, 21st      St. Louis                      MO       63102                       Litigation claim                        X            X             X               Unknown
                                 LLC, Attn: Rychnovsky, Mary
                                                                                               Floor
                                                                                               105 West
                                 c/o Heyl Royster Voelker & Allen    Mark Twain Plaza III,
SAINT GOBAIN ABRASIVES INC                                                                     Vandalia Street,    Edwardsville                   IL       62025                       Litigation claim                        X            X             X               Unknown
                                 PC, Attn: Plotner, Kent L           Suite 100
                                                                                               PO Box 467
                                 c/o Hawkins Parnell Thackston &
SHERWIN WILLIAMS COMPANY                                             10 South Broadway         Suite 1300          St. Louis                      MO       63102-1708                  Litigation claim                        X            X             X               Unknown
                                 Young LLP, Attn: Cowan, Tracy
SPX COOLING TECHNOLOGIES
                                 c/o Kurowski Shultz LLC, Attn:                                101 West
INC AS SUC/INT TO MARLEY                                             Mark Twain I, Suite 325                       Edwardsville                   IL       62025                       Litigation claim                        X            X             X               Unknown
                                 Kurowski, John J                                              Vandalia Street
COOLING TO
SULZER PUMPS US INC IND AND c/o Armstrong Teasdale LLP, Attn:
                                                              23 South First Street                                Belleville                     IL       62220                       Litigation claim                        X            X             X               Unknown
AS SUC/INT TO BINGHAM PUMPS Kidd, Anita
                                 c/o Foley & Mansfield-St Louis,     1001 Highlands Plaza
SUPERIOR BOILER WORKS INC                                                                      Suite 400           St. Louis                      MO       63110                       Litigation claim                        X            X             X               Unknown
                                 Attn: Donahue, Daniel               Drive West




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                                                                                                                                                                                   Date claim was incurred
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        Creditor's Name                      Address 1                      Address 2             Address 3                       City             State      Zip       Country     and consideration for
                                                                                                                                                                                                                 setoffs Y/N                                               claim
                                                                                                                                                                                            claim


                                  c/o Nick Boyes, Alexander Forbes 6th Floor Market Square                                                                                        Pension plan first guarantee
The AMF Bowling Pension Plan                                                               St. James's Street Nottingham                                   NG16FG       UK                                                        X            X             X               Unknown
                                  Trustee Services Limited         House                                                                                                              on June 30, 2008
The Original Bowling Company      Focus 31                           North Wing                Hertfordshire       Hemel Hempstead                         HP 7BW       UK               Lease claim                              X            X             X               Unknown
THERMWELL PRODUCTS CO INC c/o Foley & Mansfield-St Louis,            1001 Highlands Plaza
                                                                                               Suite 400           St. Louis                      MO       63110                        Litigation claim                          X            X             X               Unknown
FKA MORTITE CORPORATION   Attn: Donahue, Daniel                      Drive West
THIEM CORPORATION IND AND
                                  c/o Kurowski Shultz LLC, Attn:                               101 West
AS SUC/INT TO UNIVERSAL                                              Mark Twain I, Suite 325                       Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
                                  Shultz, William D                                            Vandalia Street
REFRACTORI
TRANE US INC FKA AMERICAN         c/o Hepler Broom LLC, Attn:                                  130 North Main
                                                                     P.O. Box 510                                  Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
STANDARD INC                      Sheehan, Sean P                                              Street
TREESDALE INC DBA
PITTSBURGH METALS                                                                                                                                                                       Litigation claim                          X            X             X               Unknown
PURIFYING COMPANY
                          c/o Foley & Mansfield-St Louis,            1001 Highlands Plaza
TRIANGLE ENTERPRISES INC                                                                       Suite 400           St. Louis                      MO       63110                        Litigation claim                          X            X             X               Unknown
                          Attn: Krauss, Jessica L                    Drive West
                          c/o Lewis Brisbois Bisgaard &
                                                                     26 Ginger Creek
UNION CARBIDE CORPORATION Smith-Glen Carbon, Attn: Bash,                                                           Glen Carbon                    IL       62034                        Litigation claim                          X            X             X               Unknown
                                                                     Parkway
                          Jeffrey
UNIROYAL INC                                                                                                                                                                            Litigation claim                          X            X             X               Unknown
URS CORPORATION PARENT OF
                          c/o Brown & James PC, Attn:                                          800 Market
URS ENERGY & CONSTRUCTION                                            Bank of America Plaza                         St. Louis                      MO       63101-2501                   Litigation claim                          X            X             X               Unknown
                          Cook, Sandra                                                         Street, Ste 1100
INC
                                                                                               105 West
WARREN PUMPS LLC FKA              c/o Heyl Royster Voelker & Allen   Mark Twain Plaza III,
                                                                                               Vandalia Street,    Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
WARREN PUMPS INC                  PC, Attn: LaConte, Lisa A          Suite 100
                                                                                               PO Box 467
                                  c/o McKenna Storer, Attn:          33 North LaSalle St.,
WILLIAM POWELL COMPANY                                                                                             Chicago                        IL       60602-2610                   Litigation claim                          X            X             X               Unknown
                                  Cochran, Gregory L                 Suite 1400
Wykeland Properies Ltd. & Hygena
                                 Wykeland House                      47 Queen Street                               Kingston Upon Hull                      HU1 1UU      UK             Lease Guarantee                            X            X             X               Unknown
Ltd.
YORK INTERNATIONAL               c/o Herzog Crebs LLP, Attn: Ward,                             130 North Main
                                                                     P.O. Box 510                                  Edwardsville                   IL       62025                        Litigation claim                          X            X             X               Unknown
CORPORATION                      Don W                                                         Street
                                 c/o McGuireWoods LLP, Attn:         77 West Wacker Drive,
YUBA HEAT TRANSFER LLC                                                                                             Chicago                        IL       60601                        Litigation claim                          X            X             X               Unknown
                                 Rogers, Jeffrey E                   Suite 4100
ZURN INDUSTRIES LLC FKA           c/o Segal McCambridge Singer & 233 S. Wacker Drive,
                                                                                                                   Chicago                        IL       60606                        Litigation claim                          X            X             X               Unknown
ZURN INDUSTRIES INC               Mahoney, Attn: Turner, Cameron Suite 5500
                                                                                                                                                                                                                                            TOTAL                       $8,610,156.64




                                                                                                                        Page 6 of 6
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In re: AMF Bowling Worldwide, Inc.                                                                                        Case No. 12-36495 (KRH)

                      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State
 nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a
 lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
 one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child,
 by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m)

      Check this box if debtor has no executory contracts or unexpired leases.

                           NAME AND MAILING ADDRESS,                                          DESCRIPTION OF CONTRACT OR LEASE AND
                               INCLUDING ZIP CODE,                                              NATURE OF DEBTOR’S INTEREST. STATE
                     OF OTHER PARTIES TO LEASE OR CONTRACT                                     WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                                                  REAL PROPERTY. STATE CONTRACT
                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT


  See Schedule G Attachment




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                                                                                                             Case No. 12-36495
                                                                                                                  Schedule G
                                                                                                    Executory Contracts and Unexpired Leases



                                                                                                                                                                                Description of contract or lease and nature of debtor’s interest.
   Name of other parties to lease or contract                  Address 1                        Address 2                       City           State       Zip      Country      State whether lease is of nonresidential real property. State
                                                                                                                                                                                         contract number of any government contract.
3Seventy                                        707 Rio Grande Suite 100A                                                                                                     IT - AMF Umbraco Upgrade and TFS/Azure Migration, amf.com hosting
                                                                                                                     Austin                TX              787001
Acuative                                        1139 Momentum Place                                                  Chicago               IL          60689-5311             IT - Telsource/Acuative
AFLAC                                           ATTN:REMITTANCE PROCESSIN       1732 WYNNTON ROAD                    COLUMBUS              GA          319990001              HR - Contract for Employee Benefits services
                                                ANTHEM HEALTH PLANS OF VIRGINIA
ANTHEM BLUE CROSS AND BLUE SHI                                                  120 MONUMENT CIRCLE                  INDIANAPOLIS          IN          46204-4903             HR - Contract for Employee Benefits services
                                                INC
Asquith & Mahoney LLP                           155 South Main Street                                                Providence            RI          02903-2963             Legal
BENEFIT CONCEPTS INC OF RHODE                   20 RISHO AVE                                                         EAST PROVIDENCE       RI          02914                  HR - Contract for Employee Benefits services
                                                                                                                                                                              HR - Contract for pre-employment assessments for management
BIGBY HAVIS & ASSOCIATES INC                    DEPT 892490 PO BOX 122490                                            DALLAS                TX          75312-2490
                                                                                                                                                                              candidates
CAREBRIDGE CORPORATION                          40 LLOYD AVE                                                         MALVERN               PA          19355                  HR - Contract for Employee Benefits services
CAREERBUILDER.COM                               13047 COLLECTION CENTER DR                                           CHICAGO               IL          60693-0130             HR - Contract for Recruiting software for Management Applicants
Carmody MacDonald                               120 S Central Avenue Ste 1800                                        St Louis              MD          63105-1705             Legal
Caron Colven Robison & Shafton                  900 Washington Street, Suite 1000                                    Vancouver             WA          98660                  Legal
CCH Incorporated                                P.O. BOX 4307                                                        CAROL STREAM          IL          60197-4307             Tax - On-Line Tax Research Software
Centaman Systems                                180 N Wabash Avenue, Suite 450                                       Chicago               IL          60601                  IT - Point of Sale system for all bowling centers
Chloride                                        27944 Bradley Road                                                   Libertyville          IL          60048                  IT - Chloride UPS Maintenance
Commercial Mechanical Service, Inc.             P.O. Box 968                                                         Midlothian            VA          23113                  IT - A/C Maintenance
Compuware                                       Drawer #64376                                                        Detroit               MI          48264-0376             IT - Gomez - Website monitoring
Compuware Corporation                           One Campus Martius                                                   Detroit               MI          48226                  IT - Website Monitoring Tool
CORPORATE COST CONTROL                          PO BOX 1180                                                          LONDONDERRY           NH          03053                  HR - Contract for Unemployment Benefits Administration
Dataflow Services                               PO Box 120544                           Dept 0544                    Dallas                TX          75312-0544             Treasury - bank activity reconciliation software
Dominion Digital                                210 Ridge Mcintire Road Suite 200                                    Charlottesville       VA          22903                  Business technology solutions
Dominion Digital                                210 Ridge Mcintire Road Suite 200                                    Charlottesville       VA          22903                  IT - Custom Application Development and Support
                                                                                                                                                       H9R 1B1
Epicor Retail Solutions                         2800, autoroute Transcanadienne                                      Pointe-Claire QC      C                                  IT - Sales Audit Software Annual Support
                                                                                                                                                       Canada
Ernst & Young, LLP                              PO Box 640382                                                        Pittsburgh            PA          15264-0382             Accounting
Fellers Snider Blankenship                      100 North Broadway, Suite 1700                                       Oklahoma City         OK          73102                  Legal
FireX                                           PO Box 9757                                                          Richmond              VA          23228                  IT - Bi-annual datacenter fire protection system inspection
Fred Hipp (and Brenda Hipp, spouse)             6808 Drayson Drive                                                   Richmond              VA          23226                  Employment contract for Chief Executive Officer
Frederickson & Byron, PA                        200 South Sixth Street                  Suite 4000                   Minneapolis           MN          55402-1425             Legal
Gallagher Bassett                               15763 Collections Center Drive                                       Chicago               IL          60693                  Risk management - third party admin
Generator Maintenance                           3920 Vero Road Suites I &J                                           Baltimore             MD          21227-1516             IT - Generator Maintenance Contract
Getman & Biryla                                 800 Rand Building 14 Lafayette Square                                Buffalo               NY          14203-1995             Legal
                                                                                                                                                                              IT - Spreadsheet Application/25 seats (Accounting and Strategic
Global Software                                 3201 Beechleaf Ct. Suite 170                                         Raleigh               NC          27604
                                                                                                                                                                              Planning)
HEALTHYROADS INC                                DEPT LA 23445                                                        PASADENA              CA          91185-3445             HR - Contract for Employee Benefits services
HYATT PLACE                                     4401 S LABURNUM AVE                                                  RICHMOND              VA          23231                  Operations - Host property for management training sessions
ICF Ironworks                                   10900 Nuckols Road                      Suite 400                    Glen Allen            VA          23060                  IT - Application Development for GroupSmart/Centaman Integration
ICF Ironworks                                   10900 Nuckols Road                      Suite 400                    Glen Allen            VA          23060                  IT - Custom Application Development and Support
IPSWITCH INC                                    P.O. Box 3726                                                        New York              NY          10008-3726             IT - VPN monitoring
IPSWITCH INC                                    P.O. Box 3726                                                        New York              NY          10008-3726             IT - VPN monitoring
IronMountain                                    1000 CAMPUS DRIVE                                                    COLLEGEVILLE          PA          19426                  IT - Off Site tape storage
                                                PASEO DE LOS TAMARINDOS 400-B
Jauregui & Navarrete, S.C.                                                                                           MEXICO                DF                                 Mexico legal
                                                PISO 7 8 9
                                                                                                                                                                          HR - Contract for Applicant Tracking System for hourly employee
KRONOS TALENT MANAGEMENT INC                    PO BOX 845748                                                        BOSTON                MA          02284-5748
                                                                                                                                                                          candidates
L.M. & Partners BVBA                            Kunstlaan 1                                                          Boom                              2850       Belgium European legal
Law Offices of William C. Dufour                3301 NORTHLAND DR STE 213                                            Austin                TX          78731              Legal
Legal & General Investment Management, Ltd      Unknown                                                                                                           UK      UK asset management
LEGAL RESOURCES OF VA                           2877 GUARDIAN LANE, SUITE 101                                        VIRGINIA BEACH        VA          23452              HR - Contract for Employee Benefits services
Lewis Brisbois Bisgaard & Smith, LLP            Suite 1200, 221 North Figueroa St                                    Los angeles           CA          90012              Legal
                                                2600 NORTH CENTRAL AVE SUITE
Lewkowitz Law Office PLC                                                                                             PHOENIX               AZ          85004                  Legal
                                                1775



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                                                                                               Executory Contracts and Unexpired Leases



                                                                                                                                                                           Description of contract or lease and nature of debtor’s interest.
   Name of other parties to lease or contract                  Address 1                   Address 2                       City           State      Zip       Country       State whether lease is of nonresidential real property. State
                                                                                                                                                                                    contract number of any government contract.
LEXIS NEXIS RISK SOLUTIONS                      PO BOX 7247-0377                                                PHILADELPHIA          PA          19170-0377             HR - Contract for Background Check services
LIBERTY MUTUAL GROUP                            PO BOX 8500                                                     DOVER                 NH          03821-8500             HR - Contract for Employee Benefits services
LP Software                                     700 W. 111th St #305                                            Worth                 ILL         60482                  Loss prevention - Case & Audit Database Management
Mercer Human Resources Consulting, LLC          THREE JAMES CENTER                                              RICHMOND              VA                                 Consulting
METLIFE                                         200 PARK AVE                                                    NEW YORK              NY          10166                  HR - Contract for Employee Benefits services
Meyers Rodbell & Rosenbaum, PA                  6801 KENILWORTH AVENUE STE 400                                  RIVERDALE             MD          20737                  Legal
                                                                                                                                                                         IT - Ongoing Enterprise Agreement for Operating Systems, Office, Server
Microsoft                                       PO BOX 847543                                                   DALLAS                TX
                                                                                                                                                                         software
                                                                                                                                                                         IT - Ongoing Enterprise Agreement for Operating Systems, Office, Server
Microsoft                                       PO BOX 847543                                                   DALLAS                TX
                                                                                                                                                                         software
Microsoft                                       PO BOX 847543                                                   DALLAS                TX                                 IT - Premier Support
MONSTER.COM                                     PO BOX 90364                                                    CHICAGO               IL          60696-0364             HR - Contract for Recruiting software for management candidates
Nexia Smith & Williamson                        Unknown                                                                                                        UK        Audit
NSB Sales Audit                                                                                                                                                          IT - Sales Audit (Accounting)
Oliver Wyman Actuarial Consulting, Inc.         3560 LENOX ROAD SUITE 2400                                      ATLANTA               GA          30326                  Actuarial consulting
                                                AMERICAN INTERNATIONAL PLAZA 250                                                      00918-
Oneil & Borges LLC                                                                                              SAN JUAN                                                 Puerto Rico legal
                                                MUNOZ RIVERA AVE SUITE 800                                                            1813
ONYX MEETINGS INC                               7200 W 75TH STREET                                              OVERLAND PARK         KS          66204                  Operations - event planning for national tournamen
                                                                                                                                                                         IT - Oracle JD Edwards Annual Support, Business Objects Licensing
Oracle                                          4202 E. FOWLER AVE, SVC 0002                                    TAMPA                 FL
                                                                                                                                                                         Support
ORLEANS HOTEL, THE LAS VEGAS                    4500 WEST TROPICANA AVENUE                                      LAS VEGAS             NV          89103                  Operations - host property for national tournamen
Other Small Maintenance Agreements                                                                                                                                       IT - EMC, Zoho
Pass logic                                                                                                                                                               IT - Password reset
                                                                                                                                                                         HR - Contract for pre-employment integrity assessments for management
PERFORMANCE ASSESMENT NETWORK                   11590 N. MERIDIAN ST., SUITE 200                                CARMEL                IN          46032
                                                                                                                                                                         candidates
PRTC                                            Cll F D Roosevelt                                               Hatillo               PR          00659                  IT - Puerto Rico Telephone Company - services Puerto Rico location
Reinhart Marville Torre                         58 avenue Kleber                                                Paris                             75116        France    French legal
Research In Motion Corporation                  122 West John Carpenter Parkway    Suite 430                    Irving                TX          75039                  IT - Blackberry
Research In Motion Corporation                  122 West John Carpenter Parkway    Suite 430                    Irving                TX          75039                  IT - Blackberry
Right Fax                                       24685 NETWORK PLACE                                             CHICAGO               IL          60069                  IT - Auto-fax for PO
                                                                                                                                                                         IT - BMC Service Desk Express - License 21 SDE Users & 11 Change
RightStar                                       1951 KIDWELL DRIVE SUITE 110                                    VIENNA                VA          22182
                                                                                                                                                                         Users
RightStar                                       1951 KIDWELL DRIVE SUITE 110                                    VIENNA                VA          22182                  IT - Service Desk Express - Magic Wand Annual Support
RSM ROC & Company                               PO BOX 10528                                                    SAN JUAN              PR          00922-0528             Audit/tax
Scarsdale                                       132 Montgomery Ave                                              Scarsdale             NY          10583                  Loss prevention - Burglar (and 45 Fire) Alarm provider
Server Room A/C (Commercial Mechanical)         PO BOX 968                                                      MIDLOTHIAN            VA          23113                  IT - A/C Maintenance
SNAGAJOB.COM                                    4880 COX RD 200                                                 GLEN ALLEN            VA          23060                  HR - Contract for Recruiting software for hourly employee candidates
Solutionary                                     9420 UNDERWOOD AVE                                              OMAHA                 NE          68103-1213             IT - Network Monitoring and Consulting
Squires Sanders (UK) LLP                        Rutland House, 148 Edmund St                                    Birmingham                        B3 2JR     UK          Legal
SRS Sedgwick                                    55 Farmington Avenue               Suite 501                    Hartford              CT          06105                  Risk management - third party admin
Stanley                                         674 Tram Way                                                    Westminster           MD          21158                  Loss prevention - Safe/Lock/Core National Provider
Stinson Morrison Hecker LLP                     P.O. Box 843052                                                 Kansas City           MO          64184-3052             Legal
Sungard Recovery Services, LP                   680 E. Swedesford Road                                          Wayne                 PA          19087                  IT - Managed recovery services for a disaster - Support Center Only
SURVEY MONKEY                                   285 Hamilton Avenue, Suite 500                                  Palo Alto             CA          94301                  Operations - surveys account 1
SURVEY MONKEY                                   285 Hamilton Avenue, Suite 500                                  Palo Alto             CA          94301                  Operations - surveys account 2
Synergy Technical                               6802 PARAGON PLACE, SUITE 410                                   RICHMOND              VA          23230                  IT - Custom Application Support - GroupSmart
Telco                                           35 HARBOR AVENUE                                                NORWALK               CT          06850                  IT - Structured Cabling / Wiring
TelSource                                       1139 monentum place                                             CHICAGO               IL          60689-5311             IT - Center Cabling Maintenance
Thomson OneSource                               PO Box 6016                                                     Carol Stream          IL          60197-6016             Tax - OneSource Tax Provision Software
Thomson Reuters (Tax & Accounting), Inc.        PO Box 6016                                                     Carol Stream          IL          60197-6016             Tax - Corporate Income Tax Calendar Software



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                                                                                                    Schedule G
                                                                                      Executory Contracts and Unexpired Leases



                                                                                                                                                                   Description of contract or lease and nature of debtor’s interest.
  Name of other parties to lease or contract                Address 1                Address 2                      City         State      Zip       Country        State whether lease is of nonresidential real property. State
                                                                                                                                                                            contract number of any government contract.
Thomson Reuters (Tax & Accounting), Inc.       PO Box 6016                                               Carol Stream          IL        60197-6016             Tax - Corporate Income Tax Return Software
Thomson Reuters (Tax & Accounting), Inc.       PO Box 6016                                               Carol Stream          IL        60197-6016             Tax - OneSource Training Package
Thomson Reuters (Tax & Accounting, Inc.        PO Box 6016                                               Carol Stream          IL        60197-6016             Tax - OneSource Transfer Pricing Software
Trintech Inc.                                  PO Box 120544                  Dept 0544                  Dallas                TX        75312-0544             Treasury - ReconNet software for daily bank reconciliation
TYCO/Sensormatic                               6600 Congress Ave                                         Boca Raton            Fla       33431                  Loss prevention - CCTV (closed circuit television)Provider
UNUM LIFE INSURANCE CO OF AMER                 PO BOX 406955                                             ATLANTA               GA        30384-6955             HR - Contract for Employee Benefits services
UP TIME SOLUTIONS                              3801 GASKINS RD                                           Richmond              VA        23233                  IT - n/w Backups
UP TIME SOLUTIONS                              3801 GASKINS RD                                           Richmond              VA        23233                  IT - Switches/Routers
Verizon Business Network Services, Inc.        22001 LOUDOUN COUNTY PARKWAY                              ASHBURN               VA        20147                  IT - Phone and internet services, managed network and phone services
Vertex                                         25528 NETWORK PLACE                                       CHICAGO               IL        60673-1255             IT - Payroll Tax Software used with Oracle JD Edwards
Windstream (aka Paetec)                        PO BOX 9001908                                            LOUISVILLE            KY        40290                  IT - Miscallaneous data and voice and PRIs (300 centers)
WorkForce                                      38705 SEVEN MILE ROAD                                     LIVONIA               MI        48152                  IT - Time & Attendance System for all AMF Employees
Wormser Kiely Galef & Jacobs                   825 THIRD AVENUE                                          NEW YORK              NY        10022-7519             Legal
XO Communications                              13865 SUNRISE VALLEY DRIVE                                HERNDON               VA        20171                  IT - Miscallaneous data and voice and PRIs




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In re: AMF Bowling Worldwide, Inc.                                                                                       Case No. 12-36495 (KRH)

                                                     SCHEDULE H - CODEBTORS
       Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
 listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property
 state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
 Washington, or Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s
 spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include
 all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a
 codebtor or a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John
 Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. Bankr. P. 1007(m)


       Check this box if debtor has no codebtors.

                          NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR


  See Schedule H Attachment




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                                                      Codebtors
DebtorName/CaseNumber                                  Name of codebtor                     Name of creditor
                                                                               Credit Suisse as Administrative Agent to
                                        300, Inc.
                                                                               First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               Credit Suisse as Administrative Agent to
                                        300, Inc.
                                                                               Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        3M COMPANY                             Gori, Randy L
                                                                               156 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62025
                                                                               Credit Suisse as Administrative Agent to
                                        ABC Ventures LLC
                                                                               First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               Credit Suisse as Administrative Agent to
                                        ABC Ventures LLC
                                                                               Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        ALLIANCE MACHINE CO                    Gori, Randy L
                                                                               157 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62026
                                        AMERICAN BILTRITE INC
                                                                               James Burch
                                        KUROWSKI, JOHN J
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC
                                                                               Gori, Randy L
                                        MARK TWAIN I, SUITE 325
                                                                               172 North Main Street
                                        101 WEST VANDALIA STREET
                                                                               Edwardsville, IL 62041
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025




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                                                  Case No. 12-36495
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                                                      Codebtors
DebtorName/CaseNumber                                  Name of codebtor                   Name of creditor
                                        AMERICAN OPTICAL CORPORATION           James Burch
                                        ZAHALSKY, DEBRA KELLY                  c/o Gori Julian & Associates PC, Attn:
                                        LUCCO BROWN THRELKELD & DAWSON LLP     Gori, Randy L
                                        224 ST. LOUIS STREET                   173 North Main Street
                                        EDWARDSVILLE, IL 62025                 Edwardsville, IL 62042
AMF Bowling Worldwide, Inc.
                                                                               Credit Suisse as Administrative Agent to
                                        American Recreation Centers, Inc.
                                                                               First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               Credit Suisse as Administrative Agent to
                                        American Recreation Centers, Inc.
                                                                               Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                        AMERON INTERNATIONAL CORPORATION IND
                                        AND AS SUC/INT TO BONDS                James Burch
                                        DENK, LAWRENCE S                       c/o Gori Julian & Associates PC, Attn:
                                        FOLEY & MANSFIELD-ST LOUIS             Gori, Randy L
                                        1001 HIGHLANDS PLAZA DRIVE WEST        174 North Main Street
                                        SUITE 400                              Edwardsville, IL 62043
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63110
                                                                               Credit Suisse as Administrative Agent to
                                        AMF BCH LLC
                                                                               First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               Credit Suisse as Administrative Agent to
                                        AMF BCH LLC
                                                                               Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               Credit Suisse as Administrative Agent to
                                        AMF Beverage Company of Oregon, Inc.
                                                                               First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010




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                                                  Case No. 12-36495
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                                                      Codebtors
DebtorName/CaseNumber                                  Name of codebtor                      Name of creditor
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Beverage Company of Oregon, Inc.
                                                                                 Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Bowling Centers Holdings Inc.
                                                                                 First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Bowling Centers Holdings Inc.
                                                                                 Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Bowling Centers International Inc.
                                                                                 First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Bowling Centers International Inc.
                                                                                 Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Bowling Centers, Inc.
                                                                                 First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Bowling Centers, Inc.
                                                                                 Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010
                                                                                 Credit Suisse as Administrative Agent to
                                        AMF Bowling Mexico Holding, Inc.
                                                                                 First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                 Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                      New York, NY 10010




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                                                      Codebtors
DebtorName/CaseNumber                                  Name of codebtor                            Name of creditor
                                                                                      Credit Suisse as Administrative Agent to
                                        AMF Bowling Mexico Holding, Inc.
                                                                                      Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                      Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                           New York, NY 10010
                                                                                      Credit Suisse as Administrative Agent to
                                        AMF Holdings, Inc.
                                                                                      First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                      Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                           New York, NY 10010
                                                                                      Credit Suisse as Administrative Agent to
                                        AMF Holdings, Inc.
                                                                                      Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                      Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                           New York, NY 10010
                                                                                      James Burch
                                                                                      c/o Gori Julian & Associates PC, Attn:
                                        AMF INC                                       Gori, Randy L
                                                                                      158 North Main Street
AMF Bowling Worldwide, Inc.                                                           Edwardsville, IL 62027
                                                                                      Credit Suisse as Administrative Agent to
                                        AMF WBCH LLC
                                                                                      First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                      Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                           New York, NY 10010
                                                                                      Credit Suisse as Administrative Agent to
                                        AMF WBCH LLC
                                                                                      Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                      Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                           New York, NY 10010
                                                                                      Credit Suisse as Administrative Agent to
                                        AMF Worldwide Bowling Centers Holdings Inc.
                                                                                      First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                      Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                           New York, NY 10010
                                                                                      Credit Suisse as Administrative Agent to
                                        AMF Worldwide Bowling Centers Holdings Inc.
                                                                                      Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                      Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                           New York, NY 10010




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                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                         Name of creditor
                                        ARVINMERITOR INC                          James Burch
                                        JOHNSON, DAYNA L                          c/o Gori Julian & Associates PC, Attn:
                                        GREENSFELDER HEMKER & GALE PC             Gori, Randy L
                                        10 SOUTH BROADWAY, SUITE 2000             175 North Main Street
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102                       Edwardsville, IL 62044
                                        AURORA PUMP COMPANY                       James Burch
                                        WOODWORTH, NANCY S                        c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY        Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500           176 North Main Street
                                        CHICAGO, IL 60606                         Edwardsville, IL 62045
AMF Bowling Worldwide, Inc.
                                        AVOCET ENTERPRISES INC FKA VENTFABRICS
                                                                                  James Burch
                                        INC
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        COCHRAN, GREGORY L
                                                                                  Gori, Randy L
                                        MCKENNA STORER
                                                                                  177 North Main Street
                                        33 NORTH LASALLE ST., SUITE 1400
                                                                                  Edwardsville, IL 62046
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60602-2610
                                        BEAZER EAST INC FKA KOPPERS INDUSTRIES
                                        INC                                       James Burch
                                        KUROWSKI, JOHN J                          c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC                       Gori, Randy L
                                        MARK TWAIN I, SUITE 325                   178 North Main Street
                                        101 WEST VANDALIA STREET                  Edwardsville, IL 62047
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        BEAZER EAST IND AND AS SUC/INT TO THIEM
                                        AND AS SUC/INT TO UN                      James Burch
                                        KUROWSKI, JOHN J                          c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC                       Gori, Randy L
                                        MARK TWAIN I, SUITE 325                   179 North Main Street
                                        101 WEST VANDALIA STREET                  Edwardsville, IL 62048
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                                                                  Credit Suisse as Administrative Agent to
                                        Boliches AMF, Inc.
                                                                                  First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                  Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                       New York, NY 10010

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                                                      Codebtors
DebtorName/CaseNumber                                  Name of codebtor                    Name of creditor
                                                                               Credit Suisse as Administrative Agent to
                                        Boliches AMF, Inc.
                                                                               Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                        BORG WARNER CORPORATION BY ITS
                                        SUC/INT BORG WARNER MORSE TEC          James Burch
                                        WARD, DON W                            c/o Gori Julian & Associates PC, Attn:
                                        HERZOG CREBS LLP                       Gori, Randy L
                                        P.O. BOX 510                           180 North Main Street
                                        130 NORTH MAIN STREET                  Edwardsville, IL 62049
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        BRAND INSULATION COMPANY
                                                                               James Burch
                                        RYCHNOVSKY, MARY
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        WILLIAMS VENKER & SANDERS LLC
                                                                               Gori, Randy L
                                        BANK OF AMERICA TOWER
                                                                               181 North Main Street
                                        100 NORTH BROADWAY, 21ST FLOOR
                                                                               Edwardsville, IL 62050
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102
                                                                               Credit Suisse as Administrative Agent to
                                        Bush River Corporation
                                                                               First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                                                               Credit Suisse as Administrative Agent to
                                        Bush River Corporation
                                                                               Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                               Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                    New York, NY 10010
                                        CARBOLINE COMPANY
                                                                               James Burch
                                        PLOTNER, KENT L
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC
                                                                               Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100
                                                                               184 North Main Street
                                        105 WEST VANDALIA STREET
                                                                               Edwardsville, IL 62053
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025




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                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                      Name of creditor
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        CARDINAL INDUSTRIAL INSULATION COMPANY
                                                                               Gori, Randy L
                                        INC
                                                                               159 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62028
                                        CBS CORPORATION A DELAWARE CORP FKA
                                        VIACOM INC SUC BY MERG                 James Burch
                                        DONAHUE, DANIEL                        c/o Gori Julian & Associates PC, Attn:
                                        FOLEY & MANSFIELD-ST LOUIS             Gori, Randy L
                                        1001 HIGHLANDS PLAZA DRIVE WEST        185 North Main Street
                                        SUITE 400                              Edwardsville, IL 62054
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63110
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        CERTAIN TEED CORPORATION               Gori, Randy L
                                                                               160 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62029
                                        CHAMPLAIN CABLE CORPORATION IND AND AS
                                                                               James Burch
                                        SUC/INT TO HAVEG PIPE
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        FOURNIE, RAYMOND R
                                                                               Gori, Randy L
                                        ARMSTRONG TEASDALE LLP
                                                                               186 North Main Street
                                        23 SOUTH FIRST STREET
                                                                               Edwardsville, IL 62055
AMF Bowling Worldwide, Inc.             BELLEVILLE, IL 62220
                                        CHAMPLAIN CABLE CORPORATION IND AND AS
                                                                               James Burch
                                        SUC/INT TO HAVEG PIPE
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        KIDD, ANITA
                                                                               Gori, Randy L
                                        ARMSTRONG TEASDALE LLP
                                                                               187 North Main Street
                                        23 SOUTH FIRST STREET
                                                                               Edwardsville, IL 62056
AMF Bowling Worldwide, Inc.             BELLEVILLE, IL 62220
                                        CLARK RELIANCE CORPORATION
                                                                               James Burch
                                        REEG, KURTIS B
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        REEG LAWYERS LLC
                                                                               Gori, Randy L
                                        ONE NORTH BRENTWOOD BLVD
                                                                               189 North Main Street
                                        SUITE 950
                                                                               Edwardsville, IL 62058
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63105

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                                                  Case No. 12-36495
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                                                      Codebtors
DebtorName/CaseNumber                                 Name of codebtor                      Name of creditor
                                        CLARK RELIANCE CORPORATION
                                                                                 James Burch
                                        SHOLTZ, PHILIP
                                                                                 c/o Gori Julian & Associates PC, Attn:
                                        PHILIP SHOLTZ
                                                                                 Gori, Randy L
                                        ONE NORTH BRENTWOOD BOULEVARD, SUITE
                                                                                 188 North Main Street
                                        950
                                                                                 Edwardsville, IL 62057
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63105
                                        CLEAVER BROOKS A DIVISION OF AQUA CHEM
                                                                                 James Burch
                                        INC
                                                                                 c/o Gori Julian & Associates PC, Attn:
                                        MILLER, JACKIE
                                                                                 Gori, Randy L
                                        OCONNELL TIVIN MILLER & BURNS LLC
                                                                                 190 North Main Street
                                        223 S. MAIN STREET
                                                                                 Edwardsville, IL 62059
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        CONTINENTAL TEVES                        James Burch
                                        WOODWORTH, NANCY S                       c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY       Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500          191 North Main Street
                                        CHICAGO, IL 60606                        Edwardsville, IL 62060
AMF Bowling Worldwide, Inc.
                                        CONWED CORPORATION IND AND AS SUC/INT
                                        TO WOOD CONVERSION CO                    James Burch
                                        GRABER, DENNIS J                         c/o Gori Julian & Associates PC, Attn:
                                        HINSHAW & CULBERTSON LLP                 Gori, Randy L
                                        101 WEST VANDALIA STREET                 192 North Main Street
                                        SUITE 200                                Edwardsville, IL 62061
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        COOPER CROUSE HINDS LLC                  James Burch
                                        MUELLER, FREDERICK S                     c/o Gori Julian & Associates PC, Attn:
                                        JOHNSON & BELL LTD                       Gori, Randy L
                                        33 WEST MONROE ST. SUITE 2700            193 North Main Street
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60603-5404                   Edwardsville, IL 62062




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                 Case 12-36495-KRH   Doc 322 Filed 01/10/13 Entered 01/10/13 23:34:49       Desc Main
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                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                       Name of creditor
                                        COOPER ELECTRIC SUPPLY CO A DIVISION OF
                                                                                  James Burch
                                        SONEPAR USA
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        MCMAHON, GREG M
                                                                                  Gori, Randy L
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY
                                                                                  194 North Main Street
                                        233 S. WACKER DRIVE, SUITE 5500
                                                                                  Edwardsville, IL 62063
                                        CHICAGO, IL 60606
AMF Bowling Worldwide, Inc.
                                        COOPER INDUSTRIES INC
                                                                                  James Burch
                                        RYCHNOVSKY, MARY
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        WILLIAMS VENKER & SANDERS LLC
                                                                                  Gori, Randy L
                                        BANK OF AMERICA TOWER
                                                                                  195 North Main Street
                                        100 NORTH BROADWAY, 21ST FLOOR
                                                                                  Edwardsville, IL 62064
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102
                                        CRANE COMPANY                             James Burch
                                        DOBBELS, DENNIS                           c/o Gori Julian & Associates PC, Attn:
                                        POLSINELLI SHUGHART PC - ST LOUIS         Gori, Randy L
                                        100 S. FOURTH STREET, SUITE 1000          196 North Main Street
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102                       Edwardsville, IL 62065
                                                                                  James Burch
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        CROWN CORK & SEAL USA INC                 Gori, Randy L
                                                                                  161 North Main Street
AMF Bowling Worldwide, Inc.                                                       Edwardsville, IL 62030
                                                                                  James Burch
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        CSR INC                                   Gori, Randy L
                                                                                  162 North Main Street
AMF Bowling Worldwide, Inc.                                                       Edwardsville, IL 62031
                                                                                  James Burch
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        CSR LTD                                   Gori, Randy L
                                                                                  163 North Main Street
AMF Bowling Worldwide, Inc.                                                       Edwardsville, IL 62032




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                                                  Case No. 12-36495
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                                                    Codebtors
DebtorName/CaseNumber                               Name of codebtor                            Name of creditor
                                        DANA COMPANIES LLC
                                                                                     James Burch
                                        PLOTNER, KENT L
                                                                                     c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC
                                                                                     Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100
                                                                                     197 North Main Street
                                        105 WEST VANDALIA STREET
                                                                                     Edwardsville, IL 62066
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        DAP INC                                      James Burch
                                        GOLDHABER, CATHERINE                         c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY           Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500              198 North Main Street
                                        CHICAGO, IL 60606                            Edwardsville, IL 62067
AMF Bowling Worldwide, Inc.
                                        DRAVO CORPORATION                            James Burch
                                        GOLDHABER, CATHERINE                         c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY           Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500              199 North Main Street
                                        CHICAGO, IL 60606                            Edwardsville, IL 62068
AMF Bowling Worldwide, Inc.
                                        DURO DYNE CORPORATION
                                                                                     James Burch
                                        ZELKOWITZ, ALAN S
                                                                                     c/o Gori Julian & Associates PC, Attn:
                                        PRETZEL & STOUFFER
                                                                                     Gori, Randy L
                                        PRETZEL & STOUFFER, CHARTERED
                                                                                     200 North Main Street
                                        ONE SOUTH WACKER DRIVE, SUITE 2500
                                                                                     Edwardsville, IL 62069
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60606
                                                                                James Burch
                                                                                c/o Gori Julian & Associates PC, Attn:
                                        FERRO ENGINEERING A DIVISION OF OGLEBAY
                                                                                Gori, Randy L
                                        NORTON
                                                                                164 North Main Street
AMF Bowling Worldwide, Inc.                                                     Edwardsville, IL 62033




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                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                      Name of creditor
                                        FLOWSERVE CORP IND AND AS SUC/INT TO
                                                                                 James Burch
                                        BW IP INTERNATIONAL INC
                                                                                 c/o Gori Julian & Associates PC, Attn:
                                        TURNER, CAMERON
                                                                                 Gori, Randy L
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY
                                                                                 201 North Main Street
                                        233 S. WACKER DRIVE, SUITE 5500
                                                                                 Edwardsville, IL 62070
                                        CHICAGO, IL 60606
AMF Bowling Worldwide, Inc.
                                        FLOWSERVE US INC IND AND AS SUC/INT TO
                                        ROCKWELL MANUFACTURIN                    James Burch
                                        SMITH, GARY L                            c/o Gori Julian & Associates PC, Attn:
                                        HERZOG CREBS LLP                         Gori, Randy L
                                        P.O. BOX 510                             202 North Main Street
                                        130 NORTH MAIN STREET                    Edwardsville, IL 62071
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        FORD MOTOR COMPANY                       James Burch
                                        YBARRA, DAVID W                          c/o Gori Julian & Associates PC, Attn:
                                        GREENSFELDER HEMKER & GALE PC            Gori, Randy L
                                        10 SOUTH BROADWAY, SUITE 2000            203 North Main Street
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102                      Edwardsville, IL 62072
                                        FOSTER WHEELER CORPORATION               James Burch
                                        TURNER, CAMERON                          c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY       Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500          204 North Main Street
                                        CHICAGO, IL 60606                        Edwardsville, IL 62073
AMF Bowling Worldwide, Inc.
                                        GARDNER DENVER INC                       James Burch
                                        TURNER, CAMERON                          c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY       Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500          205 North Main Street
                                        CHICAGO, IL 60606                        Edwardsville, IL 62074
AMF Bowling Worldwide, Inc.




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                                                      Codebtors
DebtorName/CaseNumber                                 Name of codebtor                      Name of creditor
                                        GENERAL ELECTRIC COMPANY               James Burch
                                        GOWEN, GREGORY                         c/o Gori Julian & Associates PC, Attn:
                                        GOWEN, GREGORY                         Gori, Randy L
                                        555 N CARANCAHUA STREET # 1400         207 North Main Street
AMF Bowling Worldwide, Inc.             CORPUS CHRISTI, TX 78478-0801          Edwardsville, IL 62076
                                        GENERAL ELECTRIC COMPANY               James Burch
                                        KIDD, ANITA                            c/o Gori Julian & Associates PC, Attn:
                                        ARMSTRONG TEASDALE LLP                 Gori, Randy L
                                        23 SOUTH FIRST STREET                  206 North Main Street
AMF Bowling Worldwide, Inc.             BELLEVILLE, IL 62220                   Edwardsville, IL 62075
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        GENERAL REFRACTORIES COMPANY           Gori, Randy L
                                                                               165 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62034
                                        GEORGE P REINTJES CO INC
                                                                               James Burch
                                        DONAHUE, DANIEL
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        FOLEY & MANSFIELD-ST LOUIS
                                                                               Gori, Randy L
                                        1001 HIGHLANDS PLAZA DRIVE WEST
                                                                               208 North Main Street
                                        SUITE 400
                                                                               Edwardsville, IL 62077
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63110
                                        GEORGIA PACIFIC CORPORATION
                                                                               James Burch
                                        SHEEHAN, SEAN P
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        HEPLER BROOM LLC
                                                                               Gori, Randy L
                                        P.O. BOX 510
                                                                               209 North Main Street
                                        130 NORTH MAIN STREET
                                                                               Edwardsville, IL 62078
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        GOODYEAR TIRE & RUBBER CO
                                                                               James Burch
                                        RYCHNOVSKY, MARY
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        WILLIAMS VENKER & SANDERS LLC
                                                                               Gori, Randy L
                                        BANK OF AMERICA TOWER
                                                                               210 North Main Street
                                        100 NORTH BROADWAY, 21ST FLOOR
                                                                               Edwardsville, IL 62079
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102




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DebtorName/CaseNumber                                 Name of codebtor                    Name of creditor
                                        GOULDS PUMPS IPG INC
                                                                               James Burch
                                        GRABER, DENNIS J
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        HINSHAW & CULBERTSON LLP
                                                                               Gori, Randy L
                                        101 WEST VANDALIA STREET
                                                                               211 North Main Street
                                        SUITE 200
                                                                               Edwardsville, IL 62080
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        HERCULES INC                           James Burch
                                        KIDD, ANITA                            c/o Gori Julian & Associates PC, Attn:
                                        ARMSTRONG TEASDALE LLP                 Gori, Randy L
                                        23 SOUTH FIRST STREET                  212 North Main Street
AMF Bowling Worldwide, Inc.             BELLEVILLE, IL 62220                   Edwardsville, IL 62081
                                        HOLLINGSWORTH & VOSE COMPANY
                                                                               James Burch
                                        SHEEHAN, SEAN P
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        HEPLER BROOM LLC
                                                                               Gori, Randy L
                                        P.O. BOX 510
                                                                               213 North Main Street
                                        130 NORTH MAIN STREET
                                                                               Edwardsville, IL 62082
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        HOMASOTE COMPANY
                                                                               James Burch
                                        KUROWSKI, JOHN J
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC
                                                                               Gori, Randy L
                                        MARK TWAIN I, SUITE 325
                                                                               214 North Main Street
                                        101 WEST VANDALIA STREET
                                                                               Edwardsville, IL 62083
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        HONEYWELL INC
                                                                               James Burch
                                        PLOTNER, KENT L
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC
                                                                               Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100
                                                                               215 North Main Street
                                        105 WEST VANDALIA STREET
                                                                               Edwardsville, IL 62084
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025




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                                                     Schedule H
                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                      Name of creditor
                                        ILLINOIS TOOL WORKS INC IND AND AS
                                        SUC/INT TO DEVCON CORPORA                James Burch
                                        SHEEHAN, SEAN P                          c/o Gori Julian & Associates PC, Attn:
                                        HEPLER BROOM LLC                         Gori, Randy L
                                        P.O. BOX 510                             216 North Main Street
                                        130 NORTH MAIN STREET                    Edwardsville, IL 62085
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        IMO INDUSTRIES INC
                                                                                 James Burch
                                        LACONTE, LISA A
                                                                                 c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC
                                                                                 Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100
                                                                                 217 North Main Street
                                        105 WEST VANDALIA STREET
                                                                                 Edwardsville, IL 62086
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        INDUSTRIAL HOLDING CORPORATION FKA
                                        CARBORUNDUM COMPANY                      James Burch
                                        SHEEHAN, SEAN P                          c/o Gori Julian & Associates PC, Attn:
                                        HEPLER BROOM LLC                         Gori, Randy L
                                        P.O. BOX 510                             218 North Main Street
                                        130 NORTH MAIN STREET                    Edwardsville, IL 62087
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        INGERSOLL RAND COMPANY
                                                                                 James Burch
                                        SHEEHAN, SEAN P
                                                                                 c/o Gori Julian & Associates PC, Attn:
                                        HEPLER BROOM LLC
                                                                                 Gori, Randy L
                                        P.O. BOX 510
                                                                                 219 North Main Street
                                        130 NORTH MAIN STREET
                                                                                 Edwardsville, IL 62088
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        INTERNATIONAL PAPER COMPANY IND AND AS
                                                                                 James Burch
                                        SUC/INT TO US PLYWOOD
                                                                                 c/o Gori Julian & Associates PC, Attn:
                                        FINNIGAN, MINDY
                                                                                 Gori, Randy L
                                        FAEGRE BAKER DANIELS LLP-CHICAGO
                                                                                 220 North Main Street
                                        311 S. WACKER DRIVE, SUITE 4400
                                                                                 Edwardsville, IL 62089
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60606-6622




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                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                      Name of creditor
                                        ITT CORPORATION                        James Burch
                                        ROGERS, JEFFREY E                      c/o Gori Julian & Associates PC, Attn:
                                        MCGUIREWOODS LLP                       Gori, Randy L
                                        77 WEST WACKER DRIVE, SUITE 4100       221 North Main Street
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60601                      Edwardsville, IL 62090
                                        J H FRANCE REFRACTORIES CO             James Burch
                                        TURNER, CAMERON                        c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY     Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500        222 North Main Street
                                        CHICAGO, IL 60606                      Edwardsville, IL 62091
AMF Bowling Worldwide, Inc.
                                        J M MANUFACTURING COMPANY INC
                                                                               James Burch
                                        KUROWSKI, JOHN J
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC
                                                                               Gori, Randy L
                                        MARK TWAIN I, SUITE 325
                                                                               223 North Main Street
                                        101 WEST VANDALIA STREET
                                                                               Edwardsville, IL 62092
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        JAMES WALKER MANUFACTURING CO
                                                                               James Burch
                                        CRAWFORD, THOMAS M
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        LITCHFIELD CAVO LLP-CHICAGO
                                                                               Gori, Randy L
                                        303 W. MADISON
                                                                               224 North Main Street
                                        SUITE 300
                                                                               Edwardsville, IL 62093
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60606-3300
                                        JOHN CRANE INC                         James Burch
                                        BURNS, EDWARD                          c/o Gori Julian & Associates PC, Attn:
                                        OCONNELL TIVIN MILLER & BURNS LLC      Gori, Randy L
                                        33 NORTH LASALLE ST., SUITE 1400       225 North Main Street
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60602-2610                 Edwardsville, IL 62094
                                        JOHNSTON BOILER
                                                                               James Burch
                                        NEWPORT, MICHAEL W
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        FOLEY & MANSFIELD-ST LOUIS
                                                                               Gori, Randy L
                                        1001 HIGHLANDS PLAZA DRIVE WEST
                                                                               226 North Main Street
                                        SUITE 400
                                                                               Edwardsville, IL 62095
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63110


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DebtorName/CaseNumber                                  Name of codebtor                    Name of creditor
                                                                              James Burch
                                                                              c/o Gori Julian & Associates PC, Attn:
                                        JOLEY NUSSBAUMER OLIVER DICKERSON AND
                                                                              Gori, Randy L
                                        BEASLEY
                                                                              166 North Main Street
AMF Bowling Worldwide, Inc.                                                   Edwardsville, IL 62035
                                                                              James Burch
                                                                              c/o Gori Julian & Associates PC, Attn:
                                        KELLY MOORE PAINT COMPANY             Gori, Randy L
                                                                              167 North Main Street
AMF Bowling Worldwide, Inc.                                                   Edwardsville, IL 62036
                                        KENTILE FLOORS INC                          James Burch
                                        TURNER, CAMERON                             c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY          Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500             227 North Main Street
                                        CHICAGO, IL 60606                           Edwardsville, IL 62096
AMF Bowling Worldwide, Inc.
                                                                                    Credit Suisse as Administrative Agent to
                                        King Louie Lenexa, Inc.
                                                                                    First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                    Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                         New York, NY 10010
                                                                                    Credit Suisse as Administrative Agent to
                                        King Louie Lenexa, Inc.
                                                                                    Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                    Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                         New York, NY 10010
                                                                                    Credit Suisse as Administrative Agent to
                                        Kingpin Intermediate Corp.
                                                                                    First Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                    Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                         New York, NY 10010
                                                                                    Credit Suisse as Administrative Agent to
                                        Kingpin Intermediate Corp.
                                                                                    Second Lien Credit Facility
                                        7313 Bell Creek Rd
                                                                                    Eleven Madison Avenue
                                        Mechanicsville, VA 23111
AMF Bowling Worldwide, Inc.                                                         New York, NY 10010




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                                                      Codebtors
DebtorName/CaseNumber                                 Name of codebtor                    Name of creditor
                                        KUBOTA TRACTOR CORPORATION
                                                                               James Burch
                                        NIEDER, DOUGLAS
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        LEWIS RICE & FINGERSH-SAINT LOUIS
                                                                               Gori, Randy L
                                        ST. LOUIS, MO
                                                                               228 North Main Street
                                        600 WASHINGTON
                                                                               Edwardsville, IL 62097
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63101
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        LEAR SIEGLER DIVERSIFIED HOLDING INC   Gori, Randy L
                                                                               168 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62037
                                        LORILLARD TOBACCO COMPANY              James Burch
                                        MCGINLEY, KEVIN                        c/o Gori Julian & Associates PC, Attn:
                                        THOMPSON COBURN LLP-BELLEVILLE         Gori, Randy L
                                        525 WEST MAIN STREET                   229 North Main Street
AMF Bowling Worldwide, Inc.             BELLEVILLE, IL 62220-1547              Edwardsville, IL 62098
                                        MAGID GLOVE AND SAFETY MANUFACTURING
                                                                               James Burch
                                        COMPANY LLC
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        TOOHEY, JAMES K
                                                                               Gori, Randy L
                                        JOHNSON & BELL LTD
                                                                               230 North Main Street
                                        33 WEST MONROE ST. SUITE 2700
                                                                               Edwardsville, IL 62099
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60603-5404
                                        METROPOLITAN LIFE INSURANCE CO         James Burch
                                        JOLEY ESQ, CHARLES L                   c/o Gori Julian & Associates PC, Attn:
                                        JOLEY NUSSBAUMER OLIVER & BEASLEY PC   Gori, Randy L
                                        8 E. WASHINGTON STREET                 231 North Main Street
                                        BELLEVILLE, IL 62220                   Edwardsville, IL 62100
AMF Bowling Worldwide, Inc.
                                        MINE SAFETY APPLIANCES COMPANY
                                                                               James Burch
                                        MUSKOPF, JEFF W
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        SMITHAMUNDSEN LLC-ST LOUIS
                                                                               Gori, Randy L
                                        12312 OLIVE BLVD
                                                                               232 North Main Street
                                        SUITE 100
                                                                               Edwardsville, IL 62101
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63141-6448


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                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                    Name of creditor
                                        MOMENTIVE SPECIALTY CHEMICALS INC AS
                                        SUC/INT TO BORDEN CHEMI                James Burch
                                        BRONSKY, AJ                            c/o Gori Julian & Associates PC, Attn:
                                        BROWN & JAMES PC                       Gori, Randy L
                                        BANK OF AMERICA PLAZA                  233 North Main Street
                                        800 MARKET STREET                      Edwardsville, IL 62102
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63101-2501
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        NATIONAL SERVICE INDUSTRIES INC FKA
                                                                               Gori, Randy L
                                        NORTH BROTHERS INC
                                                                               169 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62038
                                        NMBFIL INC FKA BONDO CORPORATION
                                                                               James Burch
                                        SCHAG, MICHAEL
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC
                                                                               Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100
                                                                               234 North Main Street
                                        105 WEST VANDALIA STREET
                                                                               Edwardsville, IL 62103
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        NOOTER CORPORATION                     James Burch
                                        NIEDER, DOUGLAS                        c/o Gori Julian & Associates PC, Attn:
                                        LEWIS RICE & FINGERSH-SAINT LOUIS      Gori, Randy L
                                        600 WASHINGTON AVE                     235 North Main Street
AMF Bowling Worldwide, Inc.             ST LOUIS, MO 63101                     Edwardsville, IL 62104
                                        PEERLESS PUMP COMPANY INC
                                                                               James Burch
                                        GOLLWITZER, JOHN
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        SWANSON MARTIN & BELL LLP
                                                                               Gori, Randy L
                                        330 N. WABASH
                                                                               236 North Main Street
                                        SUITE 3300
                                                                               Edwardsville, IL 62105
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60611
                                        PFIZER INC                             James Burch
                                        O'MALLEY, KEVIN                        c/o Gori Julian & Associates PC, Attn:
                                        GREENSFELDER HEMKER & GALE PC          Gori, Randy L
                                        10 SOUTH BROADWAY, SUITE 2000          237 North Main Street
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102                    Edwardsville, IL 62106


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                                                     Codebtors
DebtorName/CaseNumber                                 Name of codebtor                     Name of creditor
                                        PLASTICS ENGINEERING COMPANY            James Burch
                                        MCCAMBRIDGE, EDWARD                     c/o Gori Julian & Associates PC, Attn:
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY      Gori, Randy L
                                        233 S. WACKER DRIVE, SUITE 5500         238 North Main Street
                                        CHICAGO, IL 60606                       Edwardsville, IL 62107
AMF Bowling Worldwide, Inc.
                                        PNEUMO ABEX LLC SUC/INT TO ABEX
                                        CORPORATION                             James Burch
                                        RYCHNOVSKY, MARY                        c/o Gori Julian & Associates PC, Attn:
                                        WILLIAMS VENKER & SANDERS LLC           Gori, Randy L
                                        BANK OF AMERICA TOWER                   239 North Main Street
                                        100 NORTH BROADWAY, 21ST FLOOR          Edwardsville, IL 62108
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102
                                        RAPID AMERICAN CORPORATION AS SUC/INT
                                        TO PHILIP CAREY CORP                    James Burch
                                        DOUGLAS, CELIA                          c/o Gori Julian & Associates PC, Attn:
                                        SNR DENTON US LLP-SAINT LOUIS           Gori, Randy L
                                        ONE METROPOLITAN SQUARE                 240 North Main Street
                                        211 N. BROADWAY                         Edwardsville, IL 62109
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102-2741
                                        RIC WIL INC
                                                                                James Burch
                                        GROSSMARK, STEVE
                                                                                c/o Gori Julian & Associates PC, Attn:
                                        TRESSLER LLP – CHICAGO
                                                                                Gori, Randy L
                                        233 S. WACKER DRIVE
                                                                                242 North Main Street
                                        22ND FLOOR
                                                                                Edwardsville, IL 62111
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60606
                                        RILEY POWER INC FKA RILEY STOKER
                                        CORPORATION                             James Burch
                                        PLOTNER, KENT L                         c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC         Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100         243 North Main Street
                                        105 WEST VANDALIA STREET                Edwardsville, IL 62112
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025




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DebtorName/CaseNumber                                 Name of codebtor                       Name of creditor
                                        ROCKWELL AUTOMATION INC FKA ALLEN
                                        BRADLEY COMPANY INC IND                   James Burch
                                        KUROWSKI, JOHN J                          c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC                       Gori, Randy L
                                        MARK TWAIN I, SUITE 325                   244 North Main Street
                                        101 WEST VANDALIA STREET                  Edwardsville, IL 62113
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        RUST INTERNATIONAL INC
                                                                                  James Burch
                                        RYCHNOVSKY, MARY
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        WILLIAMS VENKER & SANDERS LLC
                                                                                  Gori, Randy L
                                        BANK OF AMERICA TOWER
                                                                                  245 North Main Street
                                        100 NORTH BROADWAY, 21ST FLOOR
                                                                                  Edwardsville, IL 62114
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63102
                                        SAINT GOBAIN ABRASIVES INC
                                                                                  James Burch
                                        PLOTNER, KENT L
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC
                                                                                  Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100
                                                                                  246 North Main Street
                                        105 WEST VANDALIA STREET
                                                                                  Edwardsville, IL 62115
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        SHERWIN WILLIAMS COMPANY
                                                                                  James Burch
                                        COWAN, TRACY
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        HAWKINS PARNELL THACKSTON & YOUNG LLP
                                                                                  Gori, Randy L
                                        10 SOUTH BROADWAY
                                                                                  247 North Main Street
                                        SUITE 1300
                                                                                  Edwardsville, IL 62116
                                        ST. LOUIS, MO 63102-1708
AMF Bowling Worldwide, Inc.
                                        SPX COOLING TECHNOLOGIES INC AS SUC/INT
                                        TO MARLEY COOLING TO                      James Burch
                                        KUROWSKI, JOHN J                          c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC                       Gori, Randy L
                                        MARK TWAIN I, SUITE 325                   248 North Main Street
                                        101 WEST VANDALIA STREET                  Edwardsville, IL 62117
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025




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                                                      Codebtors
DebtorName/CaseNumber                                 Name of codebtor                       Name of creditor
                                        SULZER PUMPS US INC IND AND AS SUC/INT
                                                                                  James Burch
                                        TO BINGHAM PUMPS
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        KIDD, ANITA
                                                                                  Gori, Randy L
                                        ARMSTRONG TEASDALE LLP
                                                                                  249 North Main Street
                                        23 SOUTH FIRST STREET
                                                                                  Edwardsville, IL 62118
AMF Bowling Worldwide, Inc.             BELLEVILLE, IL 62220
                                        SUPERIOR BOILER WORKS INC
                                                                                  James Burch
                                        DONAHUE, DANIEL
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        FOLEY & MANSFIELD-ST LOUIS
                                                                                  Gori, Randy L
                                        1001 HIGHLANDS PLAZA DRIVE WEST
                                                                                  250 North Main Street
                                        SUITE 400
                                                                                  Edwardsville, IL 62119
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63110
                                        THERMWELL PRODUCTS CO INC FKA MORTITE
                                        CORPORATION                               James Burch
                                        DONAHUE, DANIEL                           c/o Gori Julian & Associates PC, Attn:
                                        FOLEY & MANSFIELD-ST LOUIS                Gori, Randy L
                                        1001 HIGHLANDS PLAZA DRIVE WEST           251 North Main Street
                                        SUITE 400                                 Edwardsville, IL 62120
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63110
                                        THIEM CORPORATION IND AND AS SUC/INT TO
                                        UNIVERSAL REFRACTORI                      James Burch
                                        SHULTZ, WILLIAM D                         c/o Gori Julian & Associates PC, Attn:
                                        KUROWSKI SHULTZ LLC                       Gori, Randy L
                                        MARK TWAIN I, SUITE 325                   252 North Main Street
                                        101 WEST VANDALIA STREET                  Edwardsville, IL 62121
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        TRANE US INC FKA AMERICAN STANDARD INC
                                                                                  James Burch
                                        SHEEHAN, SEAN P
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        HEPLER BROOM LLC
                                                                                  Gori, Randy L
                                        P.O. BOX 510
                                                                                  253 North Main Street
                                        130 NORTH MAIN STREET
                                                                                  Edwardsville, IL 62122
                                        EDWARDSVILLE, IL 62025
AMF Bowling Worldwide, Inc.




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DebtorName/CaseNumber                                 Name of codebtor                      Name of creditor
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        TREESDALE INC DBA PITTSBURGH METALS
                                                                               Gori, Randy L
                                        PURIFYING COMPANY
                                                                               170 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62039
                                        TRIANGLE ENTERPRISES INC
                                                                               James Burch
                                        KRAUSS, JESSICA L
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        FOLEY & MANSFIELD-ST LOUIS
                                                                               Gori, Randy L
                                        1001 HIGHLANDS PLAZA DRIVE WEST
                                                                               254 North Main Street
                                        SUITE 400
                                                                               Edwardsville, IL 62123
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63110
                                        UNION CARBIDE CORPORATION
                                                                               James Burch
                                        BASH, JEFFREY
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        LEWIS BRISBOIS BISGAARD & SMITH-GLEN
                                                                               Gori, Randy L
                                        CARBON
                                                                               255 North Main Street
                                        26 GINGER CREEK PARKWAY
                                                                               Edwardsville, IL 62124
AMF Bowling Worldwide, Inc.             GLEN CARBON, IL 62034
                                                                               James Burch
                                                                               c/o Gori Julian & Associates PC, Attn:
                                        UNIROYAL INC                           Gori, Randy L
                                                                               171 North Main Street
AMF Bowling Worldwide, Inc.                                                    Edwardsville, IL 62040
                                        URS CORPORATION PARENT OF URS ENERGY
                                        & CONSTRUCTION INC                     James Burch
                                        COOK, SANDRA                           c/o Gori Julian & Associates PC, Attn:
                                        BROWN & JAMES PC                       Gori, Randy L
                                        BANK OF AMERICA PLAZA                  256 North Main Street
                                        800 MARKET STREET                      Edwardsville, IL 62125
AMF Bowling Worldwide, Inc.             ST. LOUIS, MO 63101-2501




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DebtorName/CaseNumber                                 Name of codebtor                       Name of creditor
                                        WARREN PUMPS LLC FKA WARREN PUMPS
                                        INC                                       James Burch
                                        LACONTE, LISA A                           c/o Gori Julian & Associates PC, Attn:
                                        HEYL ROYSTER VOELKER & ALLEN PC           Gori, Randy L
                                        MARK TWAIN PLAZA III, SUITE 100           257 North Main Street
                                        105 WEST VANDALIA STREET                  Edwardsville, IL 62126
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        WILLIAM POWELL COMPANY                    James Burch
                                        COCHRAN, GREGORY L                        c/o Gori Julian & Associates PC, Attn:
                                        MCKENNA STORER                            Gori, Randy L
                                        33 NORTH LASALLE ST., SUITE 1400          258 North Main Street
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60602-2610                    Edwardsville, IL 62127
                                        YORK INTERNATIONAL CORPORATION
                                                                                  James Burch
                                        WARD, DON W
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        HERZOG CREBS LLP
                                                                                  Gori, Randy L
                                        P.O. BOX 510
                                                                                  259 North Main Street
                                        130 NORTH MAIN STREET
                                                                                  Edwardsville, IL 62128
AMF Bowling Worldwide, Inc.             EDWARDSVILLE, IL 62025
                                        YUBA HEAT TRANSFER LLC                    James Burch
                                        ROGERS, JEFFREY E                         c/o Gori Julian & Associates PC, Attn:
                                        MCGUIREWOODS LLP                          Gori, Randy L
                                        77 WEST WACKER DRIVE, SUITE 4100          260 North Main Street
AMF Bowling Worldwide, Inc.             CHICAGO, IL 60601                         Edwardsville, IL 62129
                                        ZURN INDUSTRIES LLC FKA ZURN INDUSTRIES
                                                                                  James Burch
                                        INC
                                                                                  c/o Gori Julian & Associates PC, Attn:
                                        TURNER, CAMERON
                                                                                  Gori, Randy L
                                        SEGAL MCCAMBRIDGE SINGER & MAHONEY
                                                                                  261 North Main Street
                                        233 S. WACKER DRIVE, SUITE 5500
                                                                                  Edwardsville, IL 62130
                                        CHICAGO, IL 60606
AMF Bowling Worldwide, Inc.




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF VIRGINIA, RICHMOND
In re: AMF Bowling Worldwide, Inc.                                                                                                            Case No. 12-36495 (KRH)

                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

I, Stephen D. Satterwhite, Chief Financial Officer / Chief Operating Officer of the corporation named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of 79 sheets , and that they are true and correct to the best of my knowledge, information, and belief.




      1/10/2013                                                                                   / s / Stephen D. Satterwhite
Date ______________________________________                                        Signature: ______________________________________________________________
                                                                                                       Stephen D. Satterwhite

                                                                                                       Chief Financial Officer / Chief Operating Officer




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Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.§§
152 and 3571.
